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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS

************************************
Allan Chiocca,

               Plaintiff

                   v.                                     Civ. A. No.:

The Town of Rockland, Deirdre Hall,
Edward Kimball, Larry Ryan,
Michael Mullen Jr., Michael O’Loughlin,
Richard Penney, and Kara Nyman

               Defendants

************************************
                              COMPLAINT

       Plaintiff, Allan Chiocca, brings this action against the Town of Rockland, Deirdre

Hall, Edward Kimball, Larry Ryan, Michael Mullen Jr., Michael O’Loughlin, Richard

Penney, and Kara Nyman upon information and belief, except as to his own actions, the

investigation of his counsel, and facts that are a matter of public record as follows:

                                      THE PARTIES

1. Plaintiff, Allan Chiocca, (“Mr. Chiocca”) is a resident of Bridgewater,

    Massachusetts and has served as the Town Administrator for the Town of Rockland

    since 2008.

2. Defendant, the Town of Rockland, (“the Town”) is a municipality located in

    Plymouth County. The Town is governed by a five-member Board of Selectmen

    (“BOS”).

3. Defendant, Deirdre Hall, (“Mrs. Hall”) is a resident of Rockland, Massachusetts and

    a former member and former Vice Chairman of the BOS.
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4. Defendant, Edward Kimball, (“Mr. Kimball”) is a resident of Rockland,

   Massachusetts and a former member and former Chairman of the BOS.

5. Defendant, Larry Ryan, (“Mr. Ryan”) is a resident of Rockland, Massachusetts and a

   current member and current Chairman of the BOS.

6. Defendant, Michael Mullen Jr., (“Mr. Mullen”) is a resident of Rockland,

   Massachusetts and a current member of the BOS.

7. Defendant, Michael O’Loughlin, (“Mr. O’Loughlin”) is a resident of Rockland,

   Massachusetts and a current member and current Vice Chairman of the BOS.

8. Defendant, Richard Penney, (“Mr. Penney”) is a resident of Rockland,

   Massachusetts and a current member of the BOS.

9. Defendant, Kara Nyman, (“Ms. Nyman”) is a resident of Rockland, Massachusetts

   and a current member of the BOS.

                            JURISDICTION AND VENUE

10. With respect to Mr. Chiocca’s claim under Title VII, this Court has original

   jurisdiction pursuant to 42 U.S.C. § 2000e et seq and 28 U.S.C. § 1331.

11. With respect to Mr. Chiocca’s claims under 42 U.S.C. §§ 1983 and 1985, this Court

   has jurisdiction pursuant to 28 U.S.C. 1343.

12. With respect to Mr. Chiocca’s state law claims, this Court has supplemental

   jurisdiction pursuant to 28 U.S.C. § 1367.

13. Venue is appropriate in this Court, as the violations of Mr. Chiocca’s rights were

   committed within the Commonwealth of Massachusetts, Plymouth County.




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                          SUBSTANTIVE ALLEGATIONS

14. On January 5, 2016, Mr. Chiocca entered into a three-year contract (“the Contract”)

   with the Town to serve as Town Administrator through June 30, 2019.

15. Section 4(A) of the Contract states:

              Employer may suspend the Employee for good cause, with
              pay and benefits, at any time during the term of this
              agreement, in accordance with Section 2.18.(a) of the
              Rockland Town Charter (as amended by Chapter 58 of the
              Acts of 2005).

16. Section 4(B) of the Contract states:

              The Employer may terminate the service of the Employee
              at any time for malfeasance. The provisions of Section
              2.18.(a) [sic] Rockland Town Charter (as amended by
              Chapter 58 of the Acts of 2005) shall apply to such
              termination. Upon termination for malfeasance under the
              provisions of this paragraph all obligations of the parties
              hereto shall cease and this Agreement shall be void and
              without recourse to the parties. For the purposes of this
              agreement “malfeasance” is defined as criminal
              misconduct, whether or not such acts are committed in the
              course of the Employee’s employment with the Town.

17. Section 4(C) on the Contract states:

              The Employee may be terminated by the Employer,
              pursuant to Section 2.18.(a) of the Rockland Town Charter,
              for failure to meet performance goals established pursuant
              to Sections 1 and Section 5 hereof, before expiration of
              aforesaid term of employment, [sic] In that event,
              Employer agrees to pay Employee a lump sum cash
              payment of three months salary. Additionally, upon such
              termination the Employee shall be paid a lump sum cash
              payment in lieu of all accumulated vacation. Further, the
              Employer agrees to permit the Employee to remain enrolled
              in the Employer’s insurance plans for three months,
              provided the Employee pays his share of premiums
              attributable to his membership to the same extent as if he
              were still employed by the Employer.

18. Section 2.18.(a) of the Rockland Town Charter states:



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             The board of selectmen by affirmative vote of at least 4
             members may suspend or remove the town administrator
             from office. If the board of selectmen affirmatively votes to
             suspend or remove the town’s administrator, the board shall
             give at least 60 days notice as to the effective date of his
             suspension or termination, or provide 60 days of severance
             pay, or a combination of both notice and severance pay
             equivalent to at least 60 days. At least 30 days before the
             proposed suspension or termination becomes effective the
             board of selectmen shall file a preliminary written
             resolution with the town clerk setting forth in detail the
             specific reason for the proposed suspension or termination.
             A copy of the resolution shall be delivered to the town
             administrator. The town administrator may within 10 days
             of service of the resolution, reply in writing to the
             resolution and may request a public hearing. If the town
             administrator so requests, the board of selectmen shall hold
             a public hearing not earlier than 20 days nor later than 30
             days after the filing of the request. After the public hearing,
             if any, otherwise at the expiration of 30 days following the
             filing of the preliminary resolution, the selectmen may
             suspend or terminate the town administrator from duty. In
             the event the town administrator is charged with a criminal
             act, alleged to have been perpetrated while performing his
             job, suspension without pay is immediate and if the town
             administrator is not exonerated of the charges, termination
             is immediate and no notice or severance shall be provided.
             Nothing contained herein shall limit the authority of the
             board of selectmen to suspend or terminate the town
             administrator as provided by state, federal or local law.

19. In or about Spring 2018, Mr. Chiocca began discussing a raise and contract

   extension with the BOS. The BOS’s members at the time were Mrs. Hall, Mr.

   Kimball, Mr. Ryan, Mr. Mullen, and Mr. O’Loughlin.

20. Over the course of Mr. Chiocca’s employment with the Town, Town counsel John

   Clifford (“Attorney Clifford”) advised Mr. Chiocca to begin negotiating a contract

   extension with the Town whenever his contract had slightly over one year remaining

   in the term.




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21. Other individuals, including town administrators from other towns, similarly advised

   Mr. Chiocca.

22. This contract extension and raise was the first one for Mr. Chiocca considered by the

   BOS since Mrs. Hall was elected to the BOS.

23. Prior to May 1, 2018, the BOS had expressed to Mr. Chiocca that it was going to

   vote in favor of giving him a raise on his current contract and a contract extension.

24. As a member of the BOS, Mrs. Hall was one of Mr. Chiocca’s supervisors.

25. In or about Spring 2018, Mrs. Hall confided in Delshaune Flipp (“Ms. Flipp”) (the

   Town’s Board of Health Senior Assistant) and Stacia Callahan (“Ms. Callahan”) (the

   Town’s Human Resource Coordinator), that “marriage is difficult,” and that Mrs.

   Hall found it hard to be with one person even though she loves her husband.

26. At or around this same time, Mrs. Hall declared her candidacy for State

   Representative, and Mr. Kimball worked with Mrs. Hall on her campaign.

27. During this time (i.e., March and April 2018), Mrs. Hall and Mr. Kimball were

   involved in an intense physical and emotional affair, during which time Mrs. Hall

   professed her love for Mr. Kimball.

28. Mr. Kimball’s wife, Dawn Kimball (“Mrs. Kimball”), believed Mr. Kimball’s

   relationship with Mrs. Hall had been going on for at least a year but confirmed her

   suspicion on April 28, 2018.

29. On May 1, 2018, Mr. Kimball did not attend the scheduled BOS meeting because,

   after learning of the affair, Mrs. Kimball “was feeling vulnerable and betrayed.”

30. Mrs. Kimball first confronted Mrs. Hall about the affair through a text message sent

   to Mrs. Hall while Mrs. Hall was chairing the May 1, 2018, BOS meeting.




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31. At 6:58 p.m., Mrs. Kimball texted Mrs. Hall, “I know what happened. You make me

   sick.”

32. The May 1, 2018, BOS meeting concluded at approximately 7:30 p.m. and the

   members stood on Town Hall plaza chatting when Mr. Chiocca stated that he was

   going to the Rockland Bar and Grill (“the RBG”).

33. It was not uncommon for members of the BOS to go for drinks at the RBG after

   meetings.

34. Mrs. Hall, Mr. Chiocca, and Mr. Kimball would often go to the RBG, and other

   people from Town Hall would often join them.

35. Upon information and belief, Mr. Ryan has gone to the RBG and consumed

   alcoholic beverages on at least one occasion after a BOS meeting.

36. Upon information and belief, Mr. Mullen has gone to the RBG and consumed

   alcoholic beverages on at least one occasion after a BOS meeting.

37. Upon information and belief, Mr. O’Loughlin has gone to the RBG and consumed

   alcoholic beverages on at least one occasion after a BOS meeting.

38. Upon information and belief, Mr. Ryan has consumed at least three alcoholic

   beverages on at least one occasion when he went to the RBG after a BOS meeting.

39. Upon information and belief, Mr. Ryan has driven a vehicle from the RBG after

   consuming at least three alcoholic beverages on at least one occasion when he went

   to the RBG after a BOS meeting.

40. Upon information and belief, Mr. Mullen has consumed at least three alcoholic

   beverages on at least one occasion when he went to the RBG after a BOS meeting.




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41. Upon information and belief, Mr. Mullen has driven a vehicle from the RBG after

   consuming at least three alcoholic beverages on at least one occasion when he went

   to the RBG after a BOS meeting.

42. Upon information and belief, Mr. O’Loughlin has consumed at least three alcoholic

   beverages on at least one occasion when he went to the RBG after a BOS meeting.

43. Upon information and belief, Mr. O’Loughlin has driven a vehicle from the RBG

   after consuming at least three alcoholic beverages on at least one occasion when he

   went to the RBG after a BOS meeting.

44. Upon information and belief, Attorney Clifford has consumed at least three alcoholic

   beverages on at least one occasion when he went to the RBG after a BOS meeting.

45. Upon information and belief, Attorney Clifford has driven a vehicle from the RBG

   after consuming at least three alcoholic beverages on at least one occasion when he

   went to the RBG after a BOS meeting.

46. Mrs. Hall stated that she was going to join Mr. Chiocca at the RBG following the

   May 1, 2018, BOS meeting.

47. Mr. Chiocca and Mrs. Hall drove separately to the RBG, and nobody else joined

   them.

48. Mr. Chiocca and Mrs. Hall each arrived at the RBG at approximately 8:00 p.m.

49. After they arrived, Mrs. Hall ordered a glass of wine, and Mr. Chiocca ordered a

   beer.

50. At approximately 8:33 p.m. on May 1, 2018, Mrs. Kimball texted Mrs. Hall and

   stated, “Yes this is Dawn. Did you really think I wouldn’t find out? You’re a

   disgusting human being. The both of you are disgusting. I’m not about threatening




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   anyone just so you know. But I haven’t decided how I am going to handle this. 35

   years of marriage now means nothing and I have you to thank for that.”

51. Mrs. Hall did not respond to Mrs. Kimball’s texts that evening.

52. Upon receipt of the texts from Mrs. Kimball, Mrs. Hall was not concerned that her

   husband would find out about her affair with Mr. Kimball, but rather was concerned

   about the impact the news of the affair would have on her candidacy for State

   Representative should Mrs. Kimball post it on social media.

53. While at the RBG with Mr. Chiocca, Mrs. Hall received a call from Mr. Kimball

   who assured her that Mrs. Kimball would not post news of the affair on social media.

54. Mrs. Hall then asked Mr. Chiocca if she could use his cell phone because she wanted

   to check social media to see if Mrs. Kimball posted anything.

55. Mr. Chiocca inquired as to why she wanted to use his phone, and Mrs. Hall

   explained that Mr. Chiocca’s phone had access to a Facebook page that hers did not,

   and she wanted to check for a specific posting.

56. During this explanation, Mrs. Hall divulged to Mr. Chiocca that she was in love with

   Mr. Kimball and had been having an affair with him since March 2018. Mrs. Hall

   further explained that Mrs. Kimball, who recently became aware of the affair, had

   forbidden Mr. Kimball from communicating with her.

57. Mr. Chiocca had no idea that Mr. Kimball and Mrs. Hall were having an affair prior

   to this discussion.

58. During their conversation, Mrs. Hall explained to Mr. Chiocca that she was upset

   that her relationship with Mr. Kimball was ending. Mrs. Hall went on to complain

   that she felt restricted by her marriage and no longer wanted to be monogamous.




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59. Upon information and belief, Mrs. Hall has engaged in extramarital relationships

   with individuals other than Mr. Kimball over the course of her marriage.

60. Mrs. Hall and Mr. Chiocca remained at the RBG for approximately two hours,

   during which time they engaged in conversation about different subjects, including

   Mrs. Hall’s relationship with Mr. Kimball, Mrs. Hall’s desire to not be monogamous

   even though she loved her husband, and Mrs. Kimball’s response to learning of the

   affair. Mrs. Hall and Mr. Chiocca also discussed the content of that night’s BOS

   meeting, Mrs. Hall’s performance as the acting chairperson, whether Mrs. Hall

   preferred being called madam “chairperson” or “chairwoman” and other topics.

61. After her second glass of wine, Mrs. Hall began to make sexually suggestive

   comments to Mr. Chiocca and began to rub his leg and touch his arm. She reiterated

   she wanted to step out of her marriage and felt restricted.

62. Mrs. Hall told Mr. Chiocca that she “just wanted some cock.”

63. Mr. Chiocca immediately rebuffed Mrs. Hall’s inappropriate demand by alluding to

   a medical condition he has and repeatedly stating, “I’m not your guy, even if I

   wanted to, I’m not your guy.”

64. Notwithstanding Mr. Chiocca’s rebuffs, Mrs. Hall continued to pursue him

   aggressively. Mrs. Hall stated that she didn’t understand why people have to be with

   only one person and that her husband was OK with an open marriage.

65. Mrs. Hall again stated that she “just wanted some cock,” and Mr. Chiocca repeatedly

   told her no, and that even if he wanted to, that he was incapable on Tuesdays.

66. After Mr. Chiocca finished his third beer, he told Mrs. Hall he wanted to leave.




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67. However, Mrs. Hall asked Mr. Chiocca to stay, and Mr. Chiocca felt compelled to do

   so because Mrs. Hall was his supervisor.

68. At approximately 9:45 p.m., Mrs. Hall texted her husband, “Be ready for me. Cause

   I am going to want you.”

69. At 9:56 p.m., Mr. Chiocca paid the bill at the RBG. After, Mrs. Hall asked if they

   could go for a ride in his truck before they went home because she did not want to go

   home.

70. Feeling obliged to satisfy his supervisor, Mr. Chiocca agreed, and they drove around

   town for 20–30 minutes before stopping in the parking lot of the Banner Pub where

   they talked some more.

71. At this time, Mrs. Hall, who continued to pressure Mr. Chiocca to have sex with her,

   reminded him that she was his boss and would be voting on his contract extension.

72. Mr. Chiocca again stated, “I’m not your guy” and tried to reject Mrs. Hall’s

   advances.

73. Despite Mr. Chiocca’s attempt to reject her, Mrs. Hall responded and again stated

   that she “just want[ed] some cock,” and stated to Mr. Chiocca that she was his boss

   and would be voting on his contract extension.

74. Mr. Chiocca then told Mrs. Hall that she was “acting like a predator,” and again

   stated, “I’m not your guy,” but was concerned that if he thwarted her advances, she

   would not vote in favor of his contract extension and his increase in compensation.

75. Mrs. Hall then stated that she had to go to the bathroom but that she did not want to

   use the facilities at the Banner Pub because she felt that they were not clean.




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76. Because it was nearby, Mr. Chiocca offered to take Mrs. Hall to Rockland Town

   Hall so that she could use the bathroom there.

77. Mrs. Hall agreed that would be fine.

78. Mr. Chiocca and Mrs. Hall arrived at Town Hall at approximately 10:45 p.m.

79. There is surveillance video at Town Hall with five separate camera views from the

   evening of May 1, 2018.

80. The Town later retained an expert who determined that none of the surveillance

   footage from the evening of May 1, 2018/early morning of May 2, 2018, was

   tampered with in any way.

81. In the surveillance video, Mrs. Hall and Mr. Chiocca can be seen walking from the

   lower parking lot, across the plaza, and into Town Hall. Mrs. Hall, who was wearing

   high heel shoes, appears to stumble on occasion but was able to traverse the

   walkway and stairs from the lower lot to Town Hall without any assistance. At some

   points, Mr. Chiocca walked in front of Mrs. Hall, and at other points, she leads.

82. When Mrs. Hall and Mr. Chiocca entered Town Hall they each walked directly to

   the bathrooms.

83. Mr. Chiocca exited the bathroom first and waited in the hallway for Mrs. Hall.

84. After Mrs. Hall exited the bathroom, she approached Mr. Chiocca and told him that

   she did not want to go home.

85. Nonetheless, the two then exited Town Hall in the direction of Mr. Chiocca’s truck.

86. As the two arrived at the top of the stairs that led down to the parking lot, Mrs. Hall,

   who was walking ahead of Mr. Chiocca, stopped, turned to face him, and prevented

   Mr. Chiocca from accessing the stairs.




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87. Mrs. Hall and Mr. Chiocca then engaged in conversation at the top of the staircase

   for approximately seven minutes.

88. During this conversation, Mrs. Hall again continued to pressure Mr. Chiocca about

   allowing her to “to suck his cock,” while reminding him that she was his supervisor

   who would be voting on his contract and raise.

89. Feeling pressure to oblige, Mr. Chiocca finally acquiesced to Mrs. Hall’s advances,

   and the two returned to Town Hall.

90. They went directly to Mr. Chiocca’s office and closed the door.

91. Shortly after entering his office, Mr. Chiocca realized that he left his phone in his

   truck, and Mrs. Hall realized she left her purse in the bathroom.

92. Mrs. Hall asked Mr. Chiocca to retrieve her purse, after which Mr. Chiocca first

   went to his truck and retrieved his cell phone, and then went to the bathroom and

   retrieved Mrs. Hall’s purse.

93. Mr. Chiocca returned to his office and sat down in a chair next to the conference

   table in the office.

94. Mrs. Hall then asked Mr. Chiocca to open the bottle of wine sitting on the

   refrigerator in Mr. Chiocca’s office that was given to him that day by Marcy

   Birmingham (“Ms. Birmingham”) (then a Project Coordinator for the Town) as an

   early birthday present.

95. As Mr. Chiocca opened the bottle and poured two small cups of wine, Mrs. Hall

   pulled up the chair she was sitting in so that she was directly next to Mr. Chiocca.

96. Mr. Chiocca finished pouring the wine, after which one of the cups spilled.




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97. Mrs. Hall and Mr. Chiocca did not consume any of the alcohol, because immediately

   after Mr. Chiocca finished pouring the wine, Mrs. Hall spread her legs open, grabbed

   Mr. Chiocca’s hand, and placed it over the front of her panties.

98. Mrs. Hall was conscious and alert, and she never vomited, tripped, fell, or expressed

   concerned about her level of intoxication.

99. Mr. Chiocca stated, “please don’t do this, I can’t even if I wanted to.”

100. After making Mr. Chiocca rub her vagina, Mrs. Hall stood up and took off her

   panties, instructed Mr. Chiocca to stand up, and told him that she could “make it

   hard.”

101. Mrs. Hall then pulled down Mr. Chiocca’s pants and performed oral sex on him.

102. After Mrs. Hall completed oral sex on Mr. Chiocca, Mrs. Hall told Mr. Chiocca

   that she wanted him to perform oral sex on her.

103. Mr. Chiocca briefly obliged for no more than a few seconds but stopped because

   he did not want to continue.

104. Mrs. Hall then demanded that Mr. Chiocca please her with his hands, and Mr.

   Chiocca complied.

105. At or around 2:00 a.m., after attempting to satisfy Mrs. Hall with his hands, Mr.

   Chiocca stopped and stated, “it’s 2:00 a.m., please let me go home.”

106. Mrs. Hall finally agreed to leave, and at approximately 2:13 a.m., Mrs. Hall and

   Mr. Chiocca exited Mr. Chiocca’s office.

107. Mr. Chiocca and Mrs. Hall then walked across the plaza to the lower parking lot

   at a casual pace with no obvious signs of intoxication or distress.




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108. After leaving Town Hall, Mr. Chiocca drove Mrs. Hall back to the RBG so that

   she could get her vehicle.

109. Upon arriving at the RBG, Mr. Chiocca watched as Mrs. Hall got into her vehicle

   and drove away without incident.

110. Mrs. Hall arrived home at approximately 2:20 a.m.

111. Mr. Hall was in bed at the time, but he walked downstairs when he heard Mrs.

   Hall arrive home.

112. While downstairs, Mr. Hall observed Mrs. Hall’s car in the driveway backed into

   the assigned spot and then observed Mrs. Hall in the bathroom texting.

113. At 2:25 a.m., Mrs. Hall texted her husband, “love you, it gonna be a tough ride the

   next couple of weeks ttyl.”

114. Mr. Hall then asked Mrs. Hall how things went that night, and Mrs. Hall

   explained that at Mrs. Kimball’s request, Mr. Kimball did not attend the BOS

   meeting and that Mrs. Hall served as the acting Chair and moved through the agenda

   quickly. She further explained that following the meeting she went to the RBG for

   drinks.

115. Mrs. Hall also told her husband that Mrs. Kimball texted her while she was at the

   RBG that she was disgusting and that she texted Mrs. Kimball back that she was

   sorry.

116. Mrs. Hall then explained to her husband that she had been having an emotional

   but not sexual relationship with Mr. Kimball.

117. Mrs. Hall then raised the issue of Mr. Chiocca’s contract extension and began

   concocting her fabricated version of events.




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118. Specifically, Mrs. Hall lied to her husband, stating that Mr. Chiocca told her,

   “normally how this works is I ask for a raise, you give me a blowjob.”

119. During this conversation, Mrs. Hall never complained of being upset or

   uncomfortable with how the night went or of any inappropriate behavior by Mr.

   Chiocca.

120. The Halls then discussed an appointment that was scheduled for that morning, and

   Mrs. Hall agreed to attend the appointment.

121. Also, because Mrs. Hall was so late arriving home that evening, Mr. Hall

   contacted his employer and called out sick for the day.

122. After approximately 30–45 minutes of talking downstairs, the Halls went upstairs

   to their bedroom.

123. At that time, Mrs. Hall confessed to her husband that her relationship with Mr.

   Kimball was more than emotional and that they had been involved in a physical

   relationship as well.

124. Mr. Hall asked Mrs. Hall if the relationship was over, and Mrs. Hall stated that it

   was.

125. Mr. Hall indicated to Mrs. Hall that he was not happy about her having an affair

   with Mr. Kimball. The two discussed this for 15–20 minutes and then went to bed at

   approximately 3:30 a.m.

126. Mrs. Hall woke up at 6:30 a.m. that morning.

127. Later that morning, Mr. Chiocca arrived at Town Hall so that he could clean up

   his office. Mr. Chiocca poured out what was left in the wine bottle.




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128. At 8:02 a.m., Mrs. Hall emailed Mr. Chiocca to ask if they could talk for 15

   minutes before her 9:00 a.m. meeting. At 8:05 a.m., Mr. Chiocca responded in the

   affirmative.

129. When the two met in Mr. Chiocca’s office at 8:55 a.m., Mrs. Hall asked Mr.

   Chiocca for “discretion” about what happened, and they both agreed they would not

   tell anyone.

130. During their discussion, Mrs. Hall never told Mr. Chiocca she was upset with

   what happened earlier that morning or the night before, nor did she inquire of him as

   to what had taken place.

131. During their discussion, Mr. Chiocca referred to Mrs. Hall as a “predator” and

   “the aggressor.” Mrs. Hall later contended that these comments caused her first to

   have an “inkling” that she engaged in sexual relations with Mr. Chiocca, despite the

   fact that she lied and told her husband just a few hours earlier that Mr. Chiocca

   stated, “normally how this works is I ask for a raise, you give me a blowjob.”

132. Later that day Mr. Kimball spoke with Mr. Chiocca and confided in Mr. Chiocca

   that he did not go to the BOS meeting the prior evening because he had been

   involved in an affair with Mrs. Hall and that his wife had just learned of it and “was

   on the warpath.”

133. As a result, Mr. Kimball told Mr. Chiocca he was going to take a “less active role

   on the BOS.”

134. Mr. Chiocca recommended that Mr. Kimball step down from the BOS or give up

   the Chair position.




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135. After May 1st, Mr. Chiocca told Ms. Birmingham and Ms. Callahan that he did

   not want to be left alone in his office with Mrs. Hall and to make sure that his office

   door stayed open when she came to Town Hall.

136. Mr. Chiocca specifically told Ms. Birmingham that because Susan Ide (“Ms.

   Ide”), the Executive Assistant to the BOS who sits right outside Mr. Chiocca’s

   office, was on vacation the second week of May, that if he called Ms. Birmingham

   up to his office (who worked on the floor below), that she was to come right away

   because it meant that Mrs. Hall was there, and Mr. Chiocca did not want to be alone

   with her.

137. On May 4, 2018, at 7:07 a.m., Mrs. Hall emailed Mr. Chiocca and again requested

   an opportunity to meet with Mr. Chiocca. Mr. Chiocca agreed.

138. When the two met, they again discussed the evening of May 1st, and again Mr.

   Chiocca told Mrs. Hall that she was a “predator” and “the aggressor.” At this

   meeting, Mrs. Hall did not complain of a lack of memory of her May 1st encounter

   with Mr. Chiocca or that she had been suffering from diminished capacity.

139. In neither conversation between Mrs. Hall and Mr. Chiocca on May 1st or May

   4th did Mrs. Hall ever tell Mr. Chiocca that she blacked out or that she did not

   consent to any sexual acts.

140. Following these conversations, Mrs. Hall clearly understood that she had engaged

   in sexual activities with Mr. Chiocca (even though the truth is that she has always

   known the entire time).

141. Despite this clear understanding, Mrs. Hall never made any complaints, nor did

   she report any concerns about her interactions with Mr. Chiocca to anyone.




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142. On May 4, 2018, Mr. Hall and Mrs. Kimball met to discuss their spouses’

   extramarital relationship with each other. They both agreed that Mrs. Hall and Mr.

   Kimball could go to BOS meetings and events together and Mrs. Kimball would not

   show up because she did not want to set off “red flags” and draw attention to her

   husband’s relationship with Mrs. Hall. Indeed, it was most important to Mrs.

   Kimball not to let the public know about the affair.

143. The following week was filled with usual communications regarding Town

   business, both in person and by email, between Mr. Chiocca and Mrs. Hall, and they

   did not discuss the May 1st encounter.

144. The annual Town Meeting was held on May 7, 2018, and Mr. Chiocca, Mr.

   Kimball, Mrs. Hall, and others went out for drinks to China Plaza after the meeting

   without incident.

145. On May 11, 2018, Attorney Clifford sent an email to the BOS members regarding

   Mr. Chiocca’s contract, suggesting that before they decided on whether to grant the

   contract extension at the BOS meeting on May 15, 2018, they have a candid

   discussion with him about any concerns they had with his job performance.

146. During the week of May 14, 2018, Mrs. Hall came into Town Hall to see Mr.

   Chiocca more frequently than she ever had in the past. In fact, she was present more

   than any BOS member, but Mr. Chiocca avoided all interaction with her.

147. At this time, Mr. Chiocca began to apply for jobs outside of the Town because he

   did not think he could work with Mrs. Hall after what happened on the evening of

   May 1st.




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148. In fact, on May 15, 2018, Mr. Chiocca learned that he had been granted an

   interview for the Town of Marblehead Town Administrator position, which was

   scheduled for May 21, 2018.

149. On May 14, 2018, Mr. Chiocca and Ms. Birmingham had planned to attend a

   ceremony at the State House for recognition for a grant that the Town received. That

   morning Mrs. Hall announced that she would join them, and for this reason, Mr.

   Chiocca opted out of the event. Instead, Ms. Birmingham and Mrs. Hall went to the

   event without Mr. Chiocca.

150. The May 15, 2018, BOS meeting was very contentious. Just prior to the meeting

   at 4:12 p.m., Mr. Kimball sent an email to the BOS members and announced that

   Mrs. Hall was being named the school liaison, a position for which Mr. O’Loughlin

   was previously told by Mr. Kimball he would be selected.

151. Also, at the BOS meeting, Mr. Ryan and Mr. O’Loughlin were blindsided by

   communications that Mrs. Hall had with the School Superintendent.

152. The BOS also discussed Mr. Chiocca’s contract in Executive Session.

153. The following day, May 16, 2018, Mr. Ryan sent an email at approximately 12:42

   p.m. to the BOS members expressing his frustration with the meeting the evening

   prior, and he was critical of Mrs. Hall.

154. That same day, Mr. Ryan also went to Town Hall and asked Mr. Chiocca what

   was going on with the BOS and why was he blindsided at the meeting the evening

   prior. Mrs. Hall was in the room when Mr. Ryan asked this question. At that time,

   Mr. Chiocca asked Mr. Ryan if he wanted to go to lunch and talk, but he declined.




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155. Mrs. Hall then called Mr. Mullen and told him that after the May 1st BOS

   meeting, she went to the RBG with Mr. Chiocca, and they had a lot to drink. Mrs.

   Hall went on to tell Mr. Mullen that she didn’t remember much but thinks she got

   into Mr. Chiocca’s truck and drove around for a while and thinks they went to Town

   Hall. Mrs. Hall then expressed concerns that this would be on video. Mrs. Hall was

   not upset or crying but was matter of fact in telling Mr. Mullen this. She then

   described Mr. Chiocca as evil, though she never mentioned anything about a concern

   that Mr. Chiocca may have engaged in inappropriate sexual behavior with her

   without her consent.

156. Later in the evening of May 16, 2018, at approximately 8:45 p.m., Mrs. Hall went

   to the RBG. Upon seeing Mr. Chiocca at a table with two other males who had been

   involved in a meeting at Town Hall earlier that evening, she walked over and sat

   next to Mr. Chiocca.

157. The four individuals remained seated together until 9:13 p.m., when Mr. Chiocca

   left the RBG, leaving Mrs. Hall with the two males.

158. Mrs. Hall and the two males exited the RBG 48 minutes later.

159. The following day, on May 17, 2018, there was a MAPC meeting which was held

   in Rockland. Mr. Chiocca was planning on attending the event with Ms. Birmingham

   because it was a great public relations opportunity for him and the Town.

160. Mrs. Hall announced that morning that she was going to join them at the MAPC

   event, and Mr. Chiocca again decided not to attend. No other selectman attended the

   meeting.




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161. That same day at 11:03 a.m., Mr. Ryan sent another email to the members of the

   BOS that included the following comments: “Ms. Hall is making her own deals with

   the school committee,” “maybe we should revisit the VC and liaison positions at our

   next meeting,” “Ms. Hall yells when she has no back up data but doesn’t supply any

   when she is in charge. This was a board dividing move, and we should correct it.”

162. At about that time, Mrs. Hall contacted Mr. Kimball, and she told him that

   something happened on May 1, 2018, after the BOS meeting with Mr. Chiocca. Mrs.

   Hall then proceeded to lie and told Mr. Kimball that she had two drinks and then

   there was a void and the next day he said thank you for the birthday present, but she

   had not given him a present.

163. Mrs. Hall has admitted that she would never have told this to Mr. Kimball if she

   knew that Mr. Chiocca would have kept the May 1st incident a secret.

164. After Mrs. Hall told Mr. Kimball about the May 1st incident with Mr. Chiocca,

   Mr. Kimball was furious and kept repeating that he needed to process what she had

   told him.

165. Mr. Kimball then went to Town Hall and met with the Town Accountant/IT

   Director Eric Hart (“Mr. Hart”) and asked Mr. Hart to pull the security video from

   May 1, 2018. Mr. Kimball and Mr. Hart then watched the video together and saw the

   view from the lobby with Mrs. Hall and Mr. Chiocca entering Town Hall.

166. That afternoon Mr. Kimball asked Mrs. Hall to meet him, and they went for a 40-

   minute walk on the rail trail. Mr. Kimball was so angry at Mrs. Hall that Mrs. Hall

   was afraid he might hurt her. Mrs. Hall was also upset because she felt that she had

   disappointed Mr. Kimball. Mr. Kimball explained that he viewed the tapes from




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   Town Hall security and saw Mrs. Hall and Mr. Chiocca at Town Hall on May 1st.

   Mrs. Hall was embarrassed, and Mr. Kimball was furious with Mrs. Hall and told her

   that he felt like he was being played by her.

167. Mrs. Hall was upset because she did not want anyone to know about what

   happened on May 1, 2018, because she thought she would be perceived as a “whore

   and a drunk.”

168. Later that night Mr. Kimball texted Mrs. Hall and told her that he was going to

   approach Mr. Chiocca the following day, and Mrs. Hall asked him not to. Mrs. Hall

   replied, “please call we should not be putting this in writing.” In response, Mr.

   Kimball insisted that he be told the whole truth and that he did not want to be played.

   Mrs. Hall texted Mr. Kimball back and told him that she would tell him but not

   through text messages. Mr. Kimball and Mrs. Hall then had a phone conversation

   during which Mrs. Hall allegedly did not divulge any new details about the May 1st

   incident with Mr. Chiocca.

169. Mr. Kimball then spoke with Mr. Hall, who reiterated to Mr. Kimball that when

   Mrs. Hall arrived home after being out for drinks with Mr. Chiocca on May 1st, that

   she told him that Mr. Chiocca stated, “the way we do things around here is I ask for

   a contract, you give me a blowjob, and I get the contract.”

170. That evening, Mr. Kimball called and spoke with Mr. Chiocca. Mr. Kimball

   informed Mr. Chiocca that Mr. Hall wanted to know if the Town Administrator gets

   a blowjob with his raise and then told Mr. Chiocca that they would talk in the

   morning.




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171. The next morning, May 18, 2018, Mr. Kimball contacted Attorney Clifford and

   told him that Mr. Chiocca had stated to Mrs. Hall on May 1st that it is standard

   operating procedure to give the obligatory blowjob to the Town Administrator

   during contract negotiations. Mr. Kimball expressed concern for the safety of the

   town employees who were in contract negotiations. Mr. Kimball then told Attorney

   Clifford that Mrs. Hall alleged that Mr. Chiocca did something inappropriate to her

   on May 1, 2018, at Town Hall.

172. As a result, Attorney Clifford and Mr. Kimball met with Mr. Chiocca, and he

   admitted to having engaged in sexual activities with Mrs. Hall at Town Hall on the

   evening of May 1st but denied any conversation about blowjobs for contracts.

173. Mr. Chiocca then insisted to Attorney Clifford and Mr. Kimball that Mrs. Hall

   had initiated and pursued the sexual encounter that evening and that Mrs. Hall was a

   “predator and the aggressor.”

174. At that time, Mr. Kimball “strongly suggested” that Mr. Chiocca take vacation

   time and encouraged him to resign from his employment. Mr. Chiocca agreed to take

   vacation time.

175. Mr. Kimball then met with Mrs. Hall to see if she would enter into a

   nondisclosure agreement and sign a release with the town, and Mrs. Hall agreed to

   comply with this request.

176. The following day, May 19, 2018, Mrs. Hall, Mr. Hall, Mr. Kimball, and Mrs.

   Kimball met at Reeds Pond to discuss the allegations against Mr. Chiocca, and they

   all agreed to keep Mrs. Hall and Mr. Kimball’s relationship a secret. Mrs. Kimball

   reiterated the conversation she had with Mr. Kimball on May 4, 2018, that they




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   could not let their relationship be leaked to the public. Mr. and Mrs. Kimball did not

   want their family’s reputation to be ruined, and Mrs. Hall was concerned about her

   candidacy for State Representative and knew it would ruin her chances of winning.

177. Mr. Chiocca took the next week off as vacation time.

178. On or about May 23, 2018, the news media learned of May 1st encounter between

   Mr. Chiocca and Mrs. Hall.

179. On May 29, 2018, Mr. Chiocca was placed on administrative leave per a letter

   from Mr. Kimball. In relevant part, the letter reads:

             Please allow this letter to serve as formal notice that you
             have been placed on paid administrative leave pending the
             outcome of an investigation effective immediately. The
             matters under investigation include allegations of improper
             conduct toward a member of the Town of Rockland Board
             of Selectmen. . . .

             Throughout the duration of this administrative leave, you
             are directed and ordered to not visit Town Hall or any other
             buildings or property owned [sic] the Town of Rockland
             and are directed and ordered to refrain from the
             performance of any of your duties and responsibilities as
             Town Administrator for the Town until such time as you
             are scheduled to return to work or are otherwise notified.

180. On May 30, 2018, Mr. Chiocca’s counsel, Adam Shafran (“Attorney Shafran”),

   wrote to Attorney Clifford regarding the Town’s decision to place Mr. Chiocca on

   administrative leave. In relevant part, Attorney Shafran wrote:

             I am in receipt of Mr. Kimble’s [sic] letter to Mr. Chiocca
             dated May 29, 2018, confirming that the Town of Rockland
             has placed Mr. Chiocca on paid administrative leave
             effective immediately. Please be advised that Mr. Chiocca
             considers his placement on administrative leave to be a
             suspension in violation of his procedural due process rights
             under Section 2.18 of the Town of Rockland Charter. . . .




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              Mr. Kimble’s [sic] letter makes clear that Mr. Chiocca’s
              placement on administrative leave is in fact a suspension
              because Mr. Chiocca is not permitted to “perform[] . . . any
              of [his] duties and responsibilities as Town Administrator
              for the Town until such time as [he] is scheduled to return
              to work or otherwise notified.” . . . . The Town’s failure to
              comply with these procedural requirements and placement
              of Mr. Chiocca on immediate suspension, has damaged,
              and will continue to damage his reputation.

181. On May 30, 2018, Mrs. Hall announced publicly on her Facebook page,

   “Committee to Elect Deirdre Hall,” that BOS voted to initiate an investigation into

   her allegations of inappropriate behavior towards her by Mr. Chiocca.

182. Specifically, Mrs. Hall’s statement read in relevant part:

              Last evening, at my request, the Rockland Board of
              Selectmen initiated an internal investigation involving an
              allegation of inappropriate behavior by the Town
              Administrator towards me. Soon after the incident, I
              reported this matter to two members of the Board of
              Selectmen. I am cooperating fully with this process and I
              hope to see a thorough and fair investigation by the Board.

183. At no point did Mr. Chiocca ever engage in inappropriate behavior towards Mrs.

   Hall.

184. At the time Mrs. Hall published the statement set forth above, she knew that Mr.

   Chiocca did not engage in inappropriate behavior towards her and that she had in

   fact sexually harassed Mr. Chiocca.

185. Mrs. Hall’s written statement that Mr. Chiocca engaged in inappropriate behavior

   towards her has caused enormous damage to Mr. Chiocca’s reputation.

186. Mrs. Hall’s statement constitutes libel, prejudiced Mr. Chiocca’s profession, and

   was tantamount to accusing Mr. Chiocca of a crime.




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187. On May 31, 2018, Attorney Clifford responded to Attorney Shafran’s May 30,

   2018 letter.

188. In relevant part, Attorney Clifford wrote:

             If you wish to consider the Board’s action a suspension,
             you are free to request a public hearing under the Charter. I
             will request that the Board provide him with a notice
             detailing the allegations against him, and then convene a
             public hearing to provide him with the procedural due
             process you feel he has been denied. . . .

             [Mr. Chiocca] has admitted to conduct [sic] significantly
             impairs his ability to function as Town Administrator,
             leaving the Town with no alternative but to place him on
             paid administrative leave while an investigation is
             performed.

189. As quoted above, Attorney Clifford’s letter informed Mr. Chiocca that it was up

   to him to declare the BOS’s action a suspension, and only then would Attorney

   Clifford request the BOS to provide Mr. Chiocca with notice detailing the

   allegations against him.

190. The BOS did not file a preliminary written resolution with the town clerk setting

   forth in detail the specific reason for its decision to place Mr. Chiocca on what it has

   termed “paid administrative leave” at least 30 days before the paid administrative

   leave became effective.

191. Because the BOS did not file a preliminary written resolution with the town clerk

   setting forth in detail the specific reason for its decision to place Mr. Chiocca on

   what it has termed “paid administrative leave” at least 30 days before the paid

   administrative leave became effective, a copy of the resolution was not delivered to

   Mr. Chiocca.




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192. Because the BOS did not file a preliminary written resolution with the town clerk

   setting forth in detail the specific reason for its decision to place Mr. Chiocca on

   what it has termed “paid administrative leave” at least 30 days before the paid

   administrative leave became effective, and because a copy of the resolution was not

   delivered to Mr. Chiocca, Mr. Chiocca was deprived of the opportunity to reply in

   writing to the resolution or request a public hearing.

193. Contrary to Attorney Clifford’s letter, Mr. Chiocca did not admit to any conduct

   that significantly impaired his ability to function as Town Administrator.

194. Upon information and belief, the conduct Attorney Clifford’s letter is referring to

   is Mr. Chiocca having three or more alcoholic beverages at the RBG following a

   BOS meeting and then driving a vehicle from the RBG following consumption of

   said beverages.

195. Five days later, on June 5, 2018, and after Mr. Chiocca was no longer permitted at

   Town Hall, Mrs. Hall reiterated her allegations at the publicly televised BOS

   meeting. In relevant part she stated:

              I recently reported an incident of inappropriate behavior
              by the Town Administrator, and since the weeks that
              those allegations have emerged it has been very challenging
              for me and my family. False rumors and gossip have
              spread, particularly on social media, about me, about the
              devotion to my spouse, my husband Chris, and our children
              and our town. Indeed, I no longer feel that my children, my
              son, is comfortable taking the bus, and I feel that my kids
              often times are not safe or comfortable participating in
              some community activities. And this is a deeply
              disappointing consequence of my decision to stand up for
              myself in a situation where I believe I was treated
              improperly.




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196. At no point did Mr. Chiocca ever engage in inappropriate behavior towards Mrs.

   Hall.

197. At the time Mrs. Hall made the statement set forth above, she knew that Mr.

   Chiocca did not engage in inappropriate behavior towards her and that she had in

   fact sexually harassed Mr. Chiocca.

198. Mrs. Hall’s statement that Mr. Chiocca engaged in inappropriate behavior towards

   her has caused enormous damage to Mr. Chiocca’s reputation.

199. Mrs. Hall’s statement constitutes slander, prejudiced Mr. Chiocca’s profession,

   and was tantamount to accusing Mr. Chiocca of a crime.

200. At this same time (i.e., early June 2018), Attorney Ryan of Discrimination and

   Harassment Solutions LLC began her investigation.

201. Upon information and belief, on or about June 7, 2018, the Town received public

   record requests for copies of Town Hall video surveillance from the evening on May

   1, 2018.

202. On June 13, 2018, while Attorney Ryan was in the midst of her investigation,

   Mrs. Hall filed suit in Plymouth County Superior Court against the Town of

   Rockland and related parties to block the Town from releasing the surveillance

   footage.

203. Mrs. Hall’s complaint was supported by a surreptitiously obtained and knowingly

   false affidavit submitted by Mr. Kimball.

204. At this time Mr. Kimball provided his affidavit, Mrs. Hall was and had been an

   attorney licensed in the Commonwealth of Massachusetts. Her Board of Bar

   Overseers number is 673550.




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205. At the time Mr. Kimball provided his affidavit, Mr. Kimball was still the

   Chairman of the BOS, and Mrs. Hall knew that Attorney Ryan’s investigation was

   ongoing.

206. Massachusetts Rule of Professional Conduct 4.2 prohibits a lawyer when

   representing a client from communicating about the subject of the representation

   with a person the lawyer knows to be represented by another lawyer in the matter

   unless the lawyer has the consent of the other lawyer or is authorized to do so by law

   or a court order.

207. Mrs. Hall knew or should have known that any statements made in an affidavit by

   Mr. Kimball related to the ongoing investigation (including the events that were

   being investigated) were matters for which Mr. Kimball was represented by counsel

   (Attorney Clifford) in his capacity as Chairman of the BOS.

208. Upon information and belief, Mrs. Hall obtained Mr. Kimball’s affidavit by

   knowingly facilitating communications between Mr. Kimball and her then counsel

   Brian Hughes without obtaining consent from Attorney Clifford.

209. Mr. Kimball’s affidavit insinuated that Mr. Chiocca and/or Mr. Hart tampered

   with the May 1, 2018 Town Hall video surveillance footage and asserted that his

   prior review of the surveillance footage “revealed critical missing segments of

   activities, including a minute-long gap when Hall made active attempts to leave the

   premises after stating unequivocally on camera that ‘[she] needed to go home.’”

210. Just two days later, on June 15, 2018, knowing that it was frivolous, Mrs. Hall

   voluntarily dismissed her complaint.

211. Later that day, Attorney Clifford issued a press release at the behest of the BOS.




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212. In relevant part, Attorney Clifford stated:

               [T]he following statement is being issued at the behest of
              the Board of Selectmen.

              On May 17th, a member of the Board of Selectmen was
              made aware of potentially serious misconduct by two high
              ranking Town officials. Due to the seriousness of the
              allegations, the Town engaged an independent investigator
              to interview witnesses and review any evidence related to
              the alleged misconduct. The investigation is ongoing. . . .

              Unfortunately, there has been a steady stream of
              information improperly disseminated during the
              investigation, much of which was false. The release of
              false and/or misleading information has only served to
              hamper our efforts to get this investigation done.

              On Wednesday, June 13th, a motion for an emergency
              restraining order was filed on behalf of Ms. Hall. Much of
              the information contained in that filing was misleading,
              based on conjecture, or just false. It was my intention to
              appear in Brockton Superior Court this afternoon and make
              it clear that the facts and legal conclusions contained in that
              filing were not only wrong, but obtained in an improper
              manner. The circumstances surrounding the filing [sic] this
              motion are troubling from a legal perspective, and even
              though the matter was voluntarily dismissed by the
              plaintiff, the Town will be reviewing all of its options and
              may take further action in response to the filing of that
              motion.

              It is the Board’s position that the surveillance video from
              the night of the incident is a public record, and would be
              released in response to a valid public records request. . . .
              Unfortunately, the documents filed in Brockton Superior
              Court on Wednesday contain assertions that the video was
              tampered with or altered in some way. . . .

              At this time, there is no credible evidence that the video has
              been tampered with or edited in some fashion.

213. Upon information and belief, the BOS authorized Attorney Clifford’s statement.




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214. Per Attorney Clifford’s statement, Mrs. Hall objectively lacked probable cause to

   file suit.

215. Per Attorney Clifford’s statement, Mrs. Hall’s lawsuit was filed to hamper the

   Town’s investigation efforts.

216. Mrs. Hall’s lawsuit caused further damage to Mr. Chiocca’s reputation and caused

   him additional damages, including but not limited to the incurring of attorneys’ fees.

217. On June 19, 2018, while Attorney Ryan’s investigation was still ongoing, the

   BOS held a regularly scheduled meeting.

218. Without providing the legally required notice, and in an attempt to undermine the

   Town’s investigation, Mr. Kimball knowingly and intentionally violated the

   Massachusetts Open Meeting Law (G.L. c. 30A, § 20(b)) by speaking on topics

   related to the ongoing investigation that were not on the agenda.

219. As Mr. Kimball began to speak on issues related to the investigation, Attorney

   Clifford expressly advised him that he was “discussing something that was not on

   the agenda that impacts the rights of others involved.”

220. In response, Mr. Kimball stated, “I can discuss what I like,” and instructed

   Attorney Clifford to “hold his words.”

221. Mr. Kimball then proceeded to bring a motion to refer the Town’s investigation to

   the Rockland Police Department and repeatedly berated the other Board Members

   who were present to vote on his motion and stated that he is going on the record

   “that the three other members of the Board do not want to go through and have an

   investigation.”




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    222. Mr. Kimball further stated that the BOS could “reorganize the Board, but [he

        would] continue to be the voice here.”

    223. Mr. Kimball then stated that the Town’s investigation was a “sham,” suggested

        that Mr. Chiocca engaged in criminal conduct, including evidence tampering and

        sexual assault, and repeatedly stated that he stands by the “after-David”1 [sic] that he

        submitted with Mrs. Hall’s complaint.

    224. Mr. Kimball engaged in this conduct knowing that all parties impacted by his

        statements were not present and were not given notice that he would be making such

        comments.

    225. Mr. Kimball’s statements were made to undermine and/or stop Attorney Ryan’s

        ongoing investigation because at the time he made them, he knew that the

        investigation was uncovering his affair with Mrs. Hall.

    226. As a result of Mr. Kimball’s egregious conduct, Mr. Ryan stated at the BOS

        meeting that Mr. Kimball committed a “fatal mistake” and called for Mr. Kimball to

        resign from the BOS.

    227. With Attorney Ryan’s investigation still pending (and without BOS yet having the

        benefit of her findings and recommendations), Mr. Ryan further stated, “the only

        person I have to worry about is the Town Administrator. He’s our charge. He will be

        taken care of.”

    228. Ultimately when Mr. Kimball refused to resign, Mr. Ryan stormed out of the

        meeting and stated that Kimball “should own up to what he did and resign.”




1
    I.e., his affidavit.



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229. On June 21, 2018, Mr. Chiocca filed an open meeting law complaint against Mr.

   Kimball and the BOS with the Massachusetts Attorney General’s Office (“AG”).

230. On July 2, 2018, Attorney Clifford, wrote to the AG on behalf of the BOS and

   requested an extension to July 21, 2018, to respond.

231. Also on July 2, 2018, Attorney Ryan concluded her investigation her issued her

   report titled, “Investigation of Complaints against Deirdre Hall and Allan Chiocca –

   Findings of Fact, Conclusions, and Recommendations” (“Report”).

232. Attorney Ryan’s investigation and Report was incredibly thorough and included

   interviews with Mrs. Hall, Mr. Chiocca. Ms. Ide, Ms. Birmingham, Ms. Callahan,

   Ms. Flipp, Mary Jane Martin (Assistant Town Accountant), Mr. Kimball, Mr. Hart,

   Mr. Mullen, Mr. Hall, Mr. Ryan and Mr. O’Loughlin, and her review of 20 exhibits,

   including the Rockland Charter, the Rockland Sexual Harassment Policy, text

   messages between Mrs. Hall and Mrs. Kimball, text messages between Mrs. Hall

   and Mr. Kimball, emails from Mrs. Hall to Mr. Chiocca, texts between Mrs. Hall and

   Mr. Chiocca, May 1, 2018 video of Town Hall, May 16, 2018 video of the RBG,

   email regarding Mr. Chiocca’s interview in Marblehead, May 15, 2018, BOS

   Executive Session meeting minutes, affidavit of Paul Jacobson, Affidavit of Mr.

   Kimball, May 11, 2018 email from Attorney Clifford to the BOS, texts between Mrs.

   Hall and Mr. Hall, affidavit of Steven Verronneau, email regarding video tampering,

   receipt from the RBG, Mr. Chiocca’s administrative leave, and Committee to Elect

   Deirdre Hall Facebook page.

233. After making Findings of Fact that are substantially set forth above, Attorney

   Ryan made the following Conclusions in her Report:




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       •   It is undisputed based on what Ms. Hall reported to her
           husband and what was reported by Mr. Chiocca, that
           during that evening there was a conversation between
           Mr. Chiocca and Ms. Hall about his contract and there
           was a reference to sexual activities.

       •   It is undisputed that the BOS had been discussing Mr.
           Chiocca’s contract for weeks prior to May 1, 2018, and
           continued after May 1, 2018. Mr. Chiocca was asking
           for a contract extension, and a raise and Ms. Hall would
           be one of the five votes that would decide this.

       •   Mr. Chiocca did not want to have a sexual encounter
           with Ms. Hall . . . . Regardless, she persisted.

       •   Both while driving in Mr. Chiocca’s truck and while
           standing on the Town Hall Plaza, Ms. Hall made
           comments to Mr. Chiocca about engaging in sexual
           activities while reminding him that she was his
           supervisor and would be voting on his contract and
           raise. As a result, Mr. Chiocca agreed to engage in
           sexual activities in his office. But for the fact that Ms.
           Hall was his supervisor and would be voting on his
           contract, Mr. Chiocca would not have agreed to this.

       •   Although Ms. Hall did not make any requests for sexual
           relations after the Incident, she demonstrated a similar
           pattern of trying to position herself in Mr. Chiocca’s
           space. To the contrary, Mr. Chiocca exhibited behavior
           of trying to avoid Ms. Hall, and this was corroborated
           by other Town employees following the Incident.

       •   Accordingly, I find by a preponderance of the evidence
           that Ms. Hall was Mr. Chiocca’s supervisor and she
           sought sexual relations in exchange for her vote on his
           contract extension and raise. As such, Ms. Hall
           sexually harassed Mr. Chiocca in violation of the
           Town’s Sexual Harassment Policy on the night of
           the Incident.

       •   After reviewing the video of her at Town Hall, Ms. Hall
           is seen walking without assistance and talking to Mr.
           Chiocca. She appears to be aware of the circumstances
           that she is in and appears to be in control of her
           activities.



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             •   When considering her interactions and communications
                 before she went to Town Hall, she could communicate
                 with Mr. Chiocca about his contract with the Town, her
                 affair with Mr. Kimball, her desire to have relationships
                 outside her marriage and the BOS meeting that she
                 chaired earlier in the evening. Further, when she arrived
                 home within minutes of leaving Mr. Chiocca, she never
                 expressed concern about the fact that she had sexual
                 relations with him and did not exhibit any signs to her
                 husband of being upset. Further, Ms. Hall was capable
                 of engaging in coherent discussions with her husband
                 for approximately one hour when she got home and the
                 subjects that they covered that evening spanned from
                 her extramarital affair with Mr. Kimball, their son’s
                 neurological appointment, her husband calling in sick
                 from work and other topics. In addition, she could drive
                 her motor vehicle home and back it into a parking spot
                 with another motor vehicle beside it without incident.
                 She was also capable of texting her husband at 9:45
                 PM, “‘Be ready for me when I get home because I’m
                 going to want you’ and then at 2:25 AM ‘love you, it
                 gonna be a tough ride the next couple of weeks ttyl.’”

             •   Moreover, the following day Ms. Hall went to Mr.
                 Chiocca’s office and asked for “discretion” and asked
                 that he agree not to tell anyone. During this
                 conversation, she never mentions to Mr. Chiocca that
                 she had no memory of the Incident and never tells him
                 she did not consent.

             •   Accordingly, I find by a preponderance of the evidence,
                 that Ms. Hall was capable of consenting to sexual
                 relations during the Incident, and she did consent, and I
                 also find that Mr. Chiocca believed that she was
                 capable of consenting.

             •   Accordingly, I find by a preponderance of the evidence,
                 that Mr. Chiocca did not violate the Town’s Sexual
                 Harassment Policy in that he did not engage in any
                 unwelcomed touching of Ms. Hall during the Incident.

234. Based on the Conclusions set forth above, Attorney Ryan made the following

   Recommendations in her Report:



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              •     Based on the fact that Ms. Hall is an elected official,
                    she cannot be disciplined by the Town nor can
                    corrective action be issued for violations of the Sexual
                    Harassment Policy. Accordingly, I recommend that the
                    [sic] she and the other members of the BOS receive
                    training on preventing discrimination and harassment in
                    the workplace.

              •     With regard to Mr. Chiocca, I recommend that he be
                    removed from administrative leave and returned to
                    the position of Town Administrator for the Town
                    and that he be reminded that any retaliation in the
                    workplace for reporting harassment will not be
                    tolerated.

235. On July 10, 2018, the BOS held a meeting to, inter alia, disclose the results of

   Attorney Ryan’s investigation/Report.

236. Given the anticipated public turnout, the meeting was moved from its regular

   Town Hall location to the Rockland High School auditorium. Hundreds of citizens

   attended the meeting.

237. At the beginning of the meeting and during open session, Mr. Kimball stated in

   relevant part:

              In 2018, this Board has turned an allegation of sexual
              assault into a spectacle. That’s my ruling as Chair, you can
              overrule me, and continue with a majority vote.

238. The Board then voted in favor of removing Mr. Kimball as Chair and in favor of

   making Mr. Ryan the new Chair.

239. The Board then voted to go into Executive Session.

240. At the beginning of the Executive Session, Mr. Ryan stated to Mr. Kimball:

              The report does speak for itself, but I would just like to
              mention that, as you accused us all of covering up
              everything and then, quite frankly, the only person who
              covered anything up was you, your affair with Ms. Hall,
              your – when you came to the meeting, your – when you


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             heard that something happened. She didn’t report that. You
             did, according to the report that I read. And, quite frankly,
             we don’t need you anymore.

             I think you should resign, quite frankly, and save the town
             the embarrassment because everybody in town hall been on
             edge since this happened.

241. Mr. Ryan then asked Attorney Ryan how she assessed Mr. Kimball’s credibility,

   and Attorney Ryan responded as follows:

             So I interviewed Mr. Kimball two times in person and one
             time over the telephone. During the first interview that I
             had with him, he told me that he had been untruthful to the
             members of the Board of Selectmen, to the women at town
             hall and to his wife. He said that he was untruthful about
             the extent of the relationship that he had with Deirdre Hall.

             I observed other inconsistencies during the examination of
             Mr. Kimball from Day One to Day Two. So, for instance,
             on his first day of testimony, he told me that he told John
             Clifford that he had called . . . Allan Chiocca the night
             before the 18th. So on the 17th, he called Allan Chiocca and
             said, you know, a board member’s husband called me
             tonight and said, you know, something about blowjobs and
             contracts.

             And so the first day, he said, no -- I said, you never told
             that to Attorney Clifford before you met with him on the
             18th to go in and speak to Mr. Chiocca, and he said, no.
             And then on the second interview, he said, I told Mr.
             Clifford that morning that I had, in fact, talked to Allan
             Chiocca the night before. And I thought that was important,
             and I thought that was a credibility flaw because I did
             weigh some – I did find it concerning on the first day that
             he had not told legal counsel that he already disclosed to
             Allan Chiocca that there was an allegation against him. . . .

             The other issue is Ms. Hall had, and I found her credible,
             saying that she never said to Mr. Kimball that anyone had
             engaged in inappropriate behavior. Those were his words,
             and that was the word -- those were the words that we used
             on the leave of absence. And she said she only used those
             words because he had put them on the leave of absence.




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242. After hearing Attorney Ryan’s response, Mr. Ryan then stated to Mr. Kimball:

             So, quite frankly, it looks like you started an investigation
             without having probable cause. I mean, if she didn’t tell
             you that something happened, why did you start an
             investigation? You went down and saw the movies. You
             went down and said, you know, there’s pieces missing. You
             went down and said all these things, and none of them are
             true. Just covering up -- everything for everybody.

             From the day you started that affair with that woman and
             you slept with her . . . .

             That’s the issue. [Mr. Kimball] lied to the Board of
             Selectmen consistently, so there you go. So as far as I’m
             concerned, I got no more news for you. So you can do
             whatever you want to do, but that’s where I’m standing
             right now. As far as I’m concerned, the town owns you.

243. Following Mr. Ryan’s statement, Attorney Clifford and Mr. Kimball’s attorney

   Brian Palmucci (“Attorney Palmucci”) engaged in a lengthy back and forth

   discussion. During the discussion, Attorney Clifford stated in relevant part:

             [Y]our client was untruthful, all right, from the beginning
             of this investigation all the way through. Those are the
             allegations. . . . It’s in the report. . . .

             [Mr. Kimball] lied. Is there any dispute, material
             dispute, on that? He lied to me. He lied to his fellow board
             members. He lied to the women in town hall. . . .

             It is very relevant how this investigation started, all right,
             with an untruthful statement by your client. It’s very
             relevant that he misled all the parties involved all the way
             through this investigation, and then he accused these two
             gentlemen and his fellow board member, Mike O’Loughlin,
             of a coverup. He went on TV and made that statement.
             All right? When all the while, he was the one being
             untruthful.

244. Then, following his discussion of Mr. Kimball’s credibility, and without

   providing any detail whatsoever and in direct contradiction to Attorney Ryan’s




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   Report, Attorney Clifford recommended that the Board vote to convene a meeting to

   discipline Mr. Chiocca for misconduct. Specifically, Attorney Clifford stated:

             Mr. Chairman, I’m going to recommend that the board vote
             to convene a meeting next week to take disciplinary action
             against Mr. Chiocca for conduct beyond the town’s
             discriminatory harassment policy for serious misconduct.

245. The Board then voted in favor of the proposed motion.

246. Following the Board’s vote, and knowing that Mr. Chiocca and his counsel were

   not present, Mrs. Hall’s attorney, Jack McGlone (“Attorney McGlone”), asked the

   Board to refrain from disclosing Attorney Ryan’s full Report to the public, and in

   doing so conceded that Mrs. Hall should have already resigned from her position on

   the Board (“[S]he should have resigned a long time ago, Larry”).

247. Following Attorney McGlone’s request, and again without providing any detail

   and in contradiction to Attorney Ryan’s Report, Attorney Clifford stated that Mr.

   Chiocca would be disciplined for “misconduct” and would not be allowed to return

   to work. Specifically, Attorney Clifford stated:

             I don’t think it’s the sentiment of this board that they want
             to -- people to leave this meeting thinking that Allan is
             going to be brought back to work . . . . That is not the
             board’s intention.

248. Mr. Kimball then correctly observed and asked:

             In the report, the executive summary that Ms. Ryan had
             wrote regarding Mr. Chiocca, he be reminded that any
             retaliation in the workplace, report of harassment not be
             tolerated and should be reported by him. Any action against
             Mr. Chiocca, is that going to be considered retaliation by
             this board?

249. The conversation then returned to Attorney McGlone’s request to not release the

   full Report, during which Attorney McGlone effectively acknowledged that Mrs.



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   Hall’s complaint seeking an injunction to prevent the release of the videotapes was

   frivolous. Specifically, Attorney McGlone stated:

             The last thing I want to do is file an injunction. That was
             absolutely ridiculous. And she was listening to the wrong
             people, and she was listening to certain members.

250. The parties then continued a lengthy discussion about releasing a substantially

   shortened summary of the Report to the public in exchange for Mrs. Hall’s

   resignation from the BOS.

251. Without Mr. Chiocca present, the parties ultimately agreed to the foregoing, but

   before doing so, the BOS voted in favor of accepting Attorney Ryan’s full Report.

252. When it voted in favor of accepting Attorney Ryan’s Report, the BOS did not

   dispute any of Attorney Ryan’s Factual Findings, Conclusions, or

   Recommendations.

253. Upon information and belief, to the extent the BOS now disputes any of Attorney

   Ryan’s Factual Findings, Conclusions, or Recommendations in the Report, it only

   formed any such disputes after it learned that Mrs. Hall filed a complaint with the

   Massachusetts State Police regarding the events of May 1st/2nd.

254. The BOS concluded the Executive Session by voting to acknowledge that it

   violated the Open Meeting Law at the June 19, 2018, BOS meeting.

255. The BOS then closed the Executive Session and returned to the Open Session.

256. When they returned to the Open Session, Attorney Ryan read only two findings to

   the public. She stated:

             I do not substantiate Ms. Hall’s allegation that if she
             engaged in sexual activities with Mr. Chiocca on May 1st
             and 2nd, 2018, it was non-consensual as she was incapable
             of consenting due to her level of intoxication.



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                I substantiate Mr. Chiocca’s allegation that on May 1st and
                2nd, 2018, Ms. Hall used her position as member of the
                Board of Selectmen, who was actively reviewing and
                would soon be voting on his request for contract
                extension and salary increase to pressure him into
                engaging in sexual activities with her.

257. Attorney Clifford then, without providing the public with any detail, stated:

                Pursuant to a board vote in executive session, it is
                important for the public to understand that while Mr.
                Chiocca was found not to have violated the Town’s
                discriminatory harassment policy, other serious misconduct
                was identified in the investigation. The board has voted to
                convene a meeting next Tuesday July 17th to consider what
                actions should be taken against Mr. Chiocca for other
                misconduct.

258. When Attorney Clifford stated, “other serious misconduct was identified in the

   investigation,” he was authorized by and speaking on behalf of the BOS.

259. One week later, on July 17, 2018, the BOS held another meeting that primarily

   consisted of an Executive Session to discuss the potential discipline of Mr. Chiocca.

260. Only three BOS members attended this meeting (Mr. Ryan, Mr. Mullen, and Mr.

   O’Loughlin), as Mrs. Hall had resigned, and Mr. Kimball was not present.

261. The Executive Session began with Attorney Clifford falsely stating to the BOS

   that Attorney Ryan’s investigation “raised serious concerns as to other potential

   misconduct [that Mr. Chiocca engaged in] that may not have been a violation of [the

   Town’s discriminatory harassment policy] but may have been a violation of other

   policies.”

262. Attorney Clifford then noted that the BOS could not terminate Mr. Chiocca’s

   employment as the BOS did not have the requisite four votes as required by the

   Town Charter.



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263. Mr. Ryan, Mr. Mullen, Mr. O’Loughlin, Attorney Clifford, and Attorney Jason

   Crotty (“Attorney Crotty”) (counsel assigned to the Town by the Town’s insurer)

   then engaged in a lengthy discussion regarding how to handle any potential

   discipline towards Mr. Chiocca.

264. During this discussion, and again without articulating any specific misconduct

   that Mr. Chiocca engaged in, Mr. Ryan stated that the three present BOS members

   were unanimously in agreement to terminate Mr. Chiocca’s employment.

265. Attorney Clifford then again advised Mr. Ryan that the BOS could not terminate

   Mr. Chiocca’s employment at that point with only three members because it would

   increase the Town’s liability to Mr. Chiocca even further. In doing so, Attorney

   Clifford expressly acknowledged that the Town already had serious liability to Mr.

   Chiocca. Specifically, Attorney Clifford stated:

             Based on [Attorney Ryan’s] report, I think that the town
             potentially has serious exposure already.

266. Mr. O’Loughlin then stated and correctly observed as follows:

             In that investigation, it was determined that every act –
             every action that [Mr. Chiocca] took that night was out
             of concern that she was threatening his contract. So all
             of that got lumped in, so, in a sense, the report exonerated
             every action that he took that night . . . .

267. In response, Mr. Ryan acknowledged the findings in Attorney Ryan’s report

   (“The paper says that he did not pursue her. That she pursued him”), but then falsely

   stated that Mr. Chiocca was “drunk on the job . . . [t]his is the second time he has

   been caught in Rockland drunk on the job,” and that “it has to do with . . . him being

   in [Town Hall].”




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268. Nowhere in Attorney Ryan’s report did she find that Mr. Chiocca was drunk on

   the evening of May 1, 2018/early morning of May 2, 2018.

269. Attorney Ryan’s report further found that Mr. Chiocca returned to Town Hall

   with Mrs. Hall based on her threats about his contract and raise.

270. Attorney Ryan’s report did not identify any misconduct that Mr. Chiocca engaged

   in.

271. After expressing his unlawful, retaliatory opinion, Mr. Ryan then stated that the

   Town should propose a resolution to Mr. Chiocca and that if he did not agree to it, as

   soon as there are four voting members on the BOS, “it’s AMF”; i.e., “adios mother

   fucker.”

272. Following Mr. Ryan’s statement, the BOS discussed a few other matters, and the

   meeting ended.

273. After the meeting ended, Mr. Ryan stated publicly to the press that the BOS

   unanimously agreed to terminate Mr. Chiocca’s employment but could not do so

   until the BOS had at least four members.

274. The following day, July 18, 2018, Attorney Clifford wrote to Attorney Shafran to

   respond to Mr. Chiocca’s Open Meeting Law Complaint.

275. Attorney Clifford acknowledged that Mr. Kimball’s conduct at the June 19, 2018,

   BOS meeting was a violation of the Open Meeting Law and that the BOS would,

   inter alia, “at its next scheduled meeting . . . read a statement that include[s] . . . [a]n

   admission that the statements made by then Chairman Edward Kimball regarding an

   investigation at the June 19, 2018 meeting were a violation of the Open Meeting

   Law, as that matter was not on the agenda for that meeting.”




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276. Attorney Clifford’s letter further acknowledged that the BOS could not compel

   Mr. Kimball individually to take any of the remedial actions sought by Mr. Chiocca

   in his Open Meeting Law complaint.

277. The same day, July 18, 2018, Mr. O’Loughlin publicly libeled Mr. Chiocca on a

   Facebook page routinely frequented by Rockland citizens (i.e., the “Rockland Hub

   Facebook page”).

278. Specifically, Mr. O’Loughlin accused Mr. Chiocca of lying during the

   investigation when he falsely wrote on the Facebook page, “It’s important to keep in

   mind that this was caused by 3 parties that weren’t being truthful from the start.”

279. At no point did Mr. Chiocca lie to anyone about any of the events that occurred

   between him and Mrs. Hall on the evening of May 1, 2018, and Attorney Ryan did

   not identify a single matter that Mr. Chiocca was untruthful about in her report.

280. At the time Mr. O’Loughlin published the statement set forth above, he knew that

   Mr. Chiocca had not been untruthful.

281. Mr. O’Loughlin’s written statement that Mr. Chiocca was not truthful from the

   start caused further damage to Mr. Chiocca’s reputation in the community.

282. Mr. O’Loughlin’s statement constitutes libel and prejudiced Mr. Chiocca’s

   profession.

283. Following this comment and the BOS’s decision to keep Mr. Chiocca on

   administrative leave, on July 19, 2018, Attorney Shafran wrote to Attorney Clifford

   regarding the status of Mr. Chiocca’s employment. In relevant part, Attorney

   Shafran wrote as follows:

             Per our call yesterday, and in light of recent public
             statements made by members of the Rockland Board of



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       Selectmen, I write to again inform you that the Town is in
       continuing breach of its own Charter.

       As you know, on May 29, 2018, Mr. Chiocca was informed
       via letter from then-BOS Chairman Edward Kimball that he
       was being “placed on administrative leave pending the
       outcome of an investigation, effectively immediately.”. . .

       On May 30, 2018, I wrote to you to inform you that the
       Town’s placement of Mr. Chiocca on “paid administrative
       leave” was a de facto suspension in violation of Section
       2.18 of the Town Charter. . . .

       On May 31, 2018, you replied to my letter and stated that
       Mr. Chiocca’s placement on paid administrative leave was
       not a suspension. This assertion is incorrect per decisions
       from both the SJC and U.S. District Court of
       Massachusetts. In Campatelli v. Chief Justice of the Trial
       Court, 468 Mass. 455, 457 n. 2 (2014) the SJC expressly
       stated, “[w]e see no legally cognizable difference between
       suspension with pay and paid administrative leave, and
       used the terms interchangeably in this opinion.”. . .

       Based on the foregoing, the Board’s initial decision to place
       Mr. Chiocca on paid administrative leave was a suspension.
       In that regard, Mr. Chiocca was and still is entitled to know
       whether this decision was put to a vote, what the result of
       the vote was, as well as the “specific reason” for the
       suspension. Moreover, in your May 31 letter you first noted
       that if Mr. Chiocca “wish[es] to consider the Board’s action
       a suspension, [that he is] free to request a public hearing
       under the Charter,” and that you would “request that the
       Board provide him with a notice detailing the allegations
       against him, and then convene a public hearing to provide
       him with the procedural due process . . . .” Per the portion
       of the Charter quoted above, it is neither Mr. Chiocca’s
       obligation to determine whether the Town’s action
       constitutes a suspension, nor does he have to request a
       public hearing in order to be entitled to receive written
       notice detailing the “specific reason” for his suspension.
       While we certainly think it is clear that Mr. Chiocca has
       been suspended, that is a conclusion for the Town to make.
       If the Town continues to feel otherwise, I suggest it is not
       only wrong, but also causing further damage to Mr.
       Chiocca. If the Town correctly concludes that Mr. Chiocca




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             has been suspended, that it has a legal obligation to provide
             him with the “specific reasons” for his suspension. . . .

             Moreover, and as quoted above, Mr. Kimball’s May 29,
             2018 letter expressly states that Mr. Chiocca’s placement
             on “paid administrative leave” was “pending the outcome
             of an investigation,” and that Mr. Chiocca would be
             notified “[i]f further disciplinary action up to and including
             termination is found to be warranted according to the
             results of th[e] investigation.” As you know, the
             investigation is now complete, and it is our understanding
             that Mr. Chiocca remains on “paid administrative leave.”
             For the reasons set forth above, this constitutes a
             suspension beyond the term that was originally imposed.
             As such, Mr. Chiocca was and still is entitled to know
             whether this decision was put to a vote, what the result of
             the vote was, as well as the “specific reason” for the
             suspension. This is particularly important given the fact
             that following the issuance of the investigator’s report, you
             made an ambiguous and defamatory statement that the
             investigation identified “other serious misconduct.” Please
             provide us with a detailed explanation of the exact
             misconduct that this statement was based upon.

284. Neither Attorney Clifford nor anyone else acting on behalf of the Town has

   responded to Attorney Shafran’s July 19, 2018 letter as of the date of this filing.

285. On July 31, 2018, Mr. Kimball resigned from his position on the BOS.

286. Shortly thereafter the BOS scheduled a special election for November 6, 2018, to

   fill the two vacant seats on the BOS.

287. In or about October 2018, Mr. Ryan stated to MassLive reporter Jacqueline

   Tempera (“Ms. Tempera”):

             I already told everybody as far as I was concerned there is
             no way -- no possible way – [Mr. Chiocca will] walk
             through the Town Hall doors in the town of Rockland
             again. He’ll cause trouble again. That guy is an annoyance
             that is going to end soon.”




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288. Mr. Ryan then continued with his ambiguous, defamatory statements regarding

   Mr. Chiocca when he stated to Ms. Tempera:

             He’s not an innocent bystander. You can infer what you
             want from that.

             [Mr. Chiocca will be] taken care of.

289. Per Attorney Ryan’s report, Mr. Chiocca was a victim of Mrs. Hall’s conduct.

290. At the time Mr. Ryan made the statement set forth above, he had read Attorney

   Ryan’s report and knew that Mr. Chiocca was an innocent victim.

291. Mr. Ryan’s statement that Mr. Chiocca was not an innocent victim has caused

   damage to Mr. Chiocca’s reputation.

292. Mr. Ryan’s statement constitutes libel and has prejudiced Mr. Chiocca’s

   profession.

293. In or about October 2018 and just shortly before he was elected, Mr. Penney

   stated to Ms. Tempera that “there must be something existing board members know;

   something town residents don’t” — referring to the then constituted BOS’s vague

   statements regarding Mr. Chiocca engaging in misconduct and not being an

   “innocent bystander.”

294. At the time Mr. Penney made this statement, Attorney Ryan’s Report had been

   released publicly for several months.

295. On November 6, 2018, Mr. Penney and Ms. Nyman were elected as the two new

   members of the BOS.

296. Upon information and belief, following their election, Mr. Penney and Ms.

   Nyman were not presented with any additional relevant information that was not




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   already publicly available regarding Mr. Chiocca through the previous release of

   Attorney Ryan’s report (because there was no additional information at the time).

297. On November 8, 2018, the BOS held their first meeting following the November

   6, 2018 election.

298. At the meeting, Mr. O’Loughlin referred to the Town Administrator position as

   “vacant,” and Mr. Ryan referred to Mr. Chiocca as a “former employee” on several

   occasions and continued to purposefully harm Mr. Chiocca’s reputation by stating

   that the BOS is “paving the way for this Town to get up and running again and get

   rid of the dead wood.”

299. Mr. Ryan’s, Mr. O’Loughlin’s, and the BOS’s defamatory and retaliatory

   statements regarding Mr. Chiocca coupled with the BOS’s continued, unjustified

   suspension of Mr. Chiocca (stripping Mr. Chiocca of all Town Administrator

   responsibilities) in direct contradiction to Attorney Ryan’s report (and in violation of

   Mr. Chiocca’s contract and the Town Charter) have destroyed Mr. Chiocca’s

   reputation and rendered the working conditions objectively intolerable, and as a

   result have constructively discharged Mr. Chiocca from employment with the Town.

300. On November 20, 2018, Mr. Chiocca filed his initial Charge of Discrimination

   with the Commission.

301. Shortly after the Charge was filed, Attorney Shafran emailed a copy of the Charge

   to counsel for the Respondents.

302. Later that same evening, the BOS held another Selectmen’s meeting.




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303. At the meeting, which occurred within hours of the BOS receiving Mr. Chiocca’s

   Charge, the BOS voted unanimously to keep Mr. Chiocca on paid administrative

   leave through June 30, 2019, and not to renew his contract thereafter.

304. Upon information and belief, both Mr. Penney and Ms. Nyman read Attorney

   Ryan’s Report prior to voting to keep Mr. Chiocca on paid administrative leave

   through June 30, 2019, and to not renew his contract thereafter.

305. The BOS’s vote to keep Mr. Chiocca on paid administrative leave constitutes a

   retaliatory suspension.

306. The BOS has also retaliated against Mr. Chiocca by not raising his salary through

   June 30, 2019, as it initially planned to do.

307. The BOS’s vote to not renew Mr. Chiocca’s contract is express confirmation of

   the Town’s previous constructive discharge of Mr. Chiocca and further retaliation

   against Mr. Chiocca.

308. Following the aforementioned votes, Mr. Ryan read a prepared statement.

309. In relevant part, Mr. Ryan stated, “[s]ince this controversy is likely to take months

   or years to litigate, we would very likely have been required to pay the remaining

   balance of Mr. Chiocca’s contract, which ends on June 30, 2019.

310. Mr. Ryan then stated that “all of Mr. Chiocca’s claims [are] without any merit,”

   despite also stating that the Town’s “independent investigator . . . determined that

   Ms. Hall had violated the Town’s harassment policy in her role as Mr. Chiocca’s

   supervisor . . . .”




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311. On January 22, 2019, the Town, Mr. Ryan, Mr. Mullen, Mr. O’Loughlin, Mr.

   Penney, and Ms. Nyman filed their Position Statement in response to Mr. Chiocca’s

   MCAD Charge of Discrimination.

312. In their Position Statement, the Town, Mr. Ryan, Mr. Mullen, Mr. O’Loughlin,

   Mr. Penney, and Ms. Nyman disavowed Attorney Ryan’s Report and stated that they

   are “unpersuaded that Mr. Chiocca was, indeed, a victim.”

313. Following the aforementioned assertion, the Town, Mr. Ryan, Mr. Mullen, Mr.

   O’Loughlin, Mr. Penney, and Ms. Nyman then stated in their Position Statement that

   they are of the belief that based on allegedly newly recalled memories, that Mrs. Hall

   “recently filed a complaint with the Massachusetts State Police regarding the events

   of May 1-2, and the matter is currently being investigated by the District Attorney’s

   office.”

314. The Town, Mr. Ryan, Mr. Mullen, Mr. O’Loughlin, Mr. Penney, and Ms. Nyman

   then stated in their Position Statement: “In light of Ms. Hall’s recent disclosures to

   the Massachusetts State Police, Attorney Ryan agreed to reopen her investigation

   into the events of May 1-2, 2018. As part of her investigation, Attorney Ryan will

   determine whether new evidence has any effect on her previous findings of fact,

   conclusions, and recommendations. If so, Attorney Ryan will prepare a revised or

   supplemental report for submission to the Board of Selectmen.”

315. Upon information and belief, as of the date of this filing, Attorney Ryan has not

   reopened her investigation and does not have any further interviews scheduled with

   Mrs. Hall.




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316. On January 31, 2019, Mrs. Hall filed her Position Statement in response to Mr.

   Chiocca’s MCAD Charge of Discrimination.

317. In Mrs. Hall’s Position Statement she stated that she “recently recovered some

   memories that confirm the sexual conduct was unwelcome by [her].”

318. Upon information and belief, Mrs. Hall disclosed her alleged “recovered

   memories” to the Massachusetts State Police, but she has not disclosed them to

   Attorney Ryan.

319. Any assertion by Mrs. Hall that she had “recovered memories” related to the

   incident with Mr. Chiocca is a knowingly false attempt by Mrs. Hall to defame

   further, disparage and retaliate against Mr. Chiocca to conceal her own knowingly

   unlawful conduct.

                                   CAUSES OF ACTION

                                     COUNT 1
  (Violation of Mass. Gen. Laws c. 151B, § 4(1) and 4(16A) – Quid Pro Quo Sexual
           Harassment, Hostile Work Environment, Unlawful Suspension,
                 Constructive Discharge and Wrongful Termination)
            (Against the Town of Rockland and Deirdre Hall individually)

320. Mr. Chiocca incorporates by reference the averments in paragraphs 1-319 above

   as if fully set forth herein.

321. Based on the conduct set forth above, the Town of Rockland and Mrs. Hall have

   violated M.G.L. c. 151B, § 4(1) and 4(16A).

322. Mr. Chiocca has suffered damages as a result of the Town of Rockland’s and Mrs.

   Hall’s conduct.




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                                     COUNT 2
  (Violation of Mass. Gen. Laws c. 151B, § 4(4) – Retaliation, Unlawful Suspension,
                 Constructive Discharge, and Wrongful Termination)
                              (Against all Defendants)

323. Mr. Chiocca incorporates by reference the averments in paragraphs 1-322 above

   as if fully set forth herein.

324. Based on the conduct set forth above, the Defendants have violated M.G.L. c.

   151B, § 4(4).

325. Mr. Chiocca has suffered damages as a result of the Defendants’ conduct.

                                      COUNT 3
(Violation of Mass. Gen. Laws c. 151B, § 4(4A) – Coercion or Interference with 151B
  Rights, Unlawful Suspension, Constructive Discharge, and Wrongful Termination)
                         (Against all individual Defendants)

326. Mr. Chiocca incorporates by reference the averments in paragraphs 1-325 above

   as if fully set forth herein.

327. Based on the conduct set forth above, the individual Defendants have violated

   M.G.L. c. 151B, § 4(4A).

328. Mr. Chiocca has suffered damages as a result of the individual Defendants’

   conduct.

                                    COUNT 4
 (Violation of Mass. Gen. Laws c. 151B, § 4(5) – (Aiding and Abetting, Constructive
                       Discharge and Wrongful Termination)
                             (Against all Defendants)

329. Mr. Chiocca incorporates by reference the averments in paragraphs 1-328 above

   as if fully set forth herein.

330. Based on the conduct set forth above, the Defendants have violated M.G.L. c.

   151B, § 4(5).

331. Mr. Chiocca has suffered damages as a result of the Defendants’ conduct.



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                                        COUNT 5
(Violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq. – Quid
                Pro Quo Sexual Harassment, Hostile Work Environment,
      Unlawful Suspension, Constructive Discharge, and Wrongful Termination)
                             (Against the Town of Rockland)

332. Mr. Chiocca incorporates by reference the averments in paragraphs 1-331 above

   as if fully set forth herein.

333. Based on the conduct set forth above, the Town of Rockland has violated Title

   VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq

334. Mr. Chiocca has suffered damages as a result of the Town of Rockland’s conduct

                                    COUNT 6
  (42 U.S.C. § 1983 – Sexual Harassment in violation of the Equal Protection Clause)
                                (Against Mrs. Hall)

335. Mr. Chiocca incorporates by reference the averments in paragraphs 1-334 above

   as if fully set forth herein.

336. Based on the conduct set forth above, Mrs. Hall violated Mr. Chiocca’s civil

   rights under color of state law in violation of the Equal Protection Clause.

337. Mr. Chiocca has suffered damages as a result of Mrs. Hall’s conduct.

                                     COUNT 7
           (42 U.S.C. § 1983 – Post-Investigation Retaliation in violation of
                            the Equal Protection Clause)
      (Against Mr. Kimball, Mr. Ryan, Mr. Mullen, Mr. O’Loughlin, Mr. Penney,
                                  and Ms. Nyman)

338. Mr. Chiocca incorporates by reference the averments in paragraphs 1-337 above

   as if fully set forth herein.

339. Mr. Kimball, Mr. Ryan, Mr. Mullen, Mr. O’Loughlin, Mr. Penney and Ms.

   Nyman intentionally discriminated against Mr. Chiocca on the basis of his sex by

   suspending, constructively discharging and/or not renewing his contract following




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   their receipt of Attorney Ryan’s Report, and did so based on their unlawful

   perceptions towards a male victim of sexual harassment.

340. Based on the conduct set forth above, Mr. Kimball, Mr. Ryan, Mr. Mullen, Mr.

   O’Loughlin, Mr. Penney and Ms. Nyman violated Mr. Chiocca’s civil rights under

   color of state law in violation of the Equal Protection Claim.

341. Mr. Chiocca has suffered damages as a result of Mr. Kimball’s Mr. Ryan’s, Mr.

   Mullen’s, Mr. O’Loughlin’s, Mr. Penney’s and Ms. Nyman’s conduct.

                                     COUNT 8
        (42 U.S.C. § 1983 – Post-Investigation Retaliation against violation of
                            the Equal Protection Clause
                           (Against the Town Rockland)

342. Mr. Chiocca incorporates by reference the averments in paragraphs 1-341 above

   as if fully set forth herein.

343. The Town intentionally discriminated against Mr. Chiocca on the basis of his sex

   by suspending, constructively discharging and/or not renewing his contract through

   the actions of the BOS following its receipt of Attorney Ryan’s Report, and did so

   based on its unlawful perceptions towards a male victim of sexual harassment.

344. The BOS engaged in this unlawful conduct as the Town’s municipal policy and

   decision makers.

345. Based on the conduct set forth above, the Town violated Mr. Chiocca’s civil

   rights under color of state law in violation of the Equal Protection Claim.

346. Mr. Chiocca has suffered damages as a result of the Town’s conduct.




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                                      COUNT 9
(42 U.S.C. § 1983 – Violation of Substantive Due Process (Property Interest – Continued
                   Employment/Lost Raise-Constructive Discharge
     (Against Mrs. Hall, Mr. Kimball, Mr. Ryan, Mr. Mullen, and Mr. O’Loughlin)

347. Mr. Chiocca incorporates by reference the averments in paragraphs 1-346 above

    as if fully set forth herein.

348. Mr. Chiocca possessed a property interest in continued employment.

349. Based on the conduct set forth above, Mrs. Hall, Mr. Kimball, Mr. Ryan, Mr.

    Mullen and Mr. O’Loughlin engaged in conscience-shocking behavior that

    constructively discharged Mr. Chiocca, including but not limited to, sexually

    assaulting Mr. Chiocca, fabricating claims of sexual assault against Mr. Chiocca,

    knowingly and purposefully rejecting Attorney Ryan’s recommendations by

    manufacturing disciplinary issues against Mr. Chiocca they themselves had engaged

    in, and by repeatedly defaming Mr. Chiocca both orally and in writing instead of

    acknowledging that he was a victim of sexual harassment.

350. Mr. Chiocca has suffered damages as a result of Mrs. Hall’s, Mr. Kimball’s, Mr.

    Ryan’s, Mr. Mullen’s and Mr. O’Loughlin’s conduct.

                                      COUNT 10
(42 U.S.C. § 1983 – Violation of Substantive Due Process (Property Interest – Continued
                   Employment/Lost Raise-Constructive Discharge)
                            (Against the Town of Rockland)

351. Mr. Chiocca incorporates by reference the averments in paragraphs 1-350 above

    as if fully set forth herein.

352. Mr. Chiocca possessed a property interest in continued employment.

353. Based on the conduct set forth above, Mrs. Hall, Mr. Kimball, Mr. Ryan, Mr.

    Mullen and Mr. O’Loughlin engaged in conscience-shocking behavior that




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   constructively discharged Mr. Chiocca, including but not limited to, sexually

   assaulting Mr. Chiocca, fabricating claims of sexual assault against Mr. Chiocca,

   knowingly and purposefully rejecting Attorney Ryan’s recommendations by

   manufacturing disciplinary issues against Mr. Chiocca they themselves had engaged

   in, and by repeatedly defaming Mr. Chiocca both orally and in writing instead of

   acknowledging that he was a victim of sexual harassment.

354. These individuals were the Town’s municipal policy and decision makers at all

   times relevant hereto, and so the Town is liable for their conduct.

355. Mr. Chiocca has suffered damages as a result of the Town’s conduct.

                                     COUNT 11
(42 U.S.C. § 1983 – Violation of Substantive Due Process (Liberty Interest - Reputation
                         (Against all Individual Defendants)

356. Mr. Chiocca incorporates by reference the averments in paragraphs 1-355 above

   as if fully set forth herein.

357. Mr. Chiocca possessed a liberty interest in his reputation.

358. Based on the conduct set forth above, the individual Defendants deprived Mr.

   Chiocca of his liberty interest in his reputation by stigmatizing him through

   conscience-shocking behavior by fabricating claims of sexual assault against Mr.

   Chiocca, knowingly and purposefully rejecting Attorney Ryan’s recommendations

   by manufacturing disciplinary issues against Mr. Chiocca they themselves had

   engaged in, and by repeatedly defaming Mr. Chiocca both orally and in writing

   instead of acknowledging that he was a victim of sexual harassment.




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359. The individual Defendants’ conduct seriously damaged Mr. Chiocca’s standing

    and associations in his community and irreparably damaged his good name,

    reputation, honor, and integrity.

360. Mr. Chiocca has suffered damages as a result of the individual Defendants’

    conduct.

                                      COUNT 12
(42 U.S.C. § 1983 – Violation of Substantive Due Process (Liberty Interest – Reputation)
                            (Against the Town of Rockland)

361. Mr. Chiocca incorporates by reference the averments in paragraphs 1-360 above

    as if fully set forth herein.

362. Mr. Chiocca possessed a liberty interest in his reputation.

363. Based on the conduct set forth above, the individual Defendants deprived Mr.

    Chiocca of his liberty interest in his reputation by stigmatizing him through

    conscience-shocking behavior by fabricating claims of sexual assault against Mr.

    Chiocca, knowingly and purposefully rejecting Attorney Ryan’s recommendations

    by manufacturing disciplinary issues against Mr. Chiocca they themselves had

    engaged in, and by repeatedly defaming Mr. Chiocca both orally and in writing

    instead of acknowledging that he was a victim of sexual harassment.

364. These individuals were the Town’s municipal policy and decision makers at all

    times relevant hereto, and so the Town is liable for their conduct.

365. The Town’s conduct seriously damaged Mr. Chiocca’s standing and associations

    in his community and irreparably damaged his good name, reputation, honor, and

    integrity.

366. Mr. Chiocca has suffered damages as a result of the Town’s conduct.




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                                    COUNT 13
 (42 U.S.C. § 1983 – Deprivation of Procedural Due Process (Property Interest – Pre-
                Investigation Suspension without Notice and Hearing
         (Against Mr. Kimball, Mr. Ryan, Mr. Mullen, and Mr. O’Loughlin)

367. Mr. Chiocca incorporates by reference the averments in paragraphs 1-366 above

   as if fully set forth herein.

368. Pursuant to his Contract and M.G.L. c. 41, § 108N, Mr. Chiocca had a reasonable

   expectation of continued employment consistent with and subject to the provisions

   of the Rockland Town Charter.

369. Mr. Kimball, Mr. Ryan, Mr. Mullen, and Mr. O’Loughlin voted to suspend Mr.

   Chiocca without affording him sufficient procedural due process.

370. Mr. Chiocca has suffered damages as a result of Mr. Kimball’s, Mr. Ryan’s, Mr.

   Mullen’s and Mr. O’Loughlin’s conduct.

                                     COUNT 14
 (42 U.S.C. § 1983 – Deprivation of Procedural Due Process (Property Interest – Pre-
                Investigation Suspension without Notice and Hearing
                           (Against the Town of Rockland)

371. Mr. Chiocca incorporates by reference the averments in paragraphs 1-370 above

   as if fully set forth herein.

372. Pursuant to his Contract and M.G.L. c. 41, § 108N, Mr. Chiocca had a reasonable

   expectation of continued employment consistent with and subject to the provisions

   of the Rockland Town Charter.

373. The Town suspended Mr. Chiocca without affording him sufficient procedural

   due process.




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374. The individual Defendants who failed to afford Mr. Chiocca with sufficient

   procedural due process were Town’s municipal policy and decision makers at all

   times relevant hereto, and so the Town is liable for their conduct.

375. Mr. Chiocca has suffered damages as a result of the Town’s conduct.

                                     COUNT 15
 (42 U.S.C. § 1983 – Deprivation of Procedural Due Process (Property Interest – Post-
  Investigation Termination via Constructive Discharge without Notice and Hearing)
    (Against Mrs. Hall, Mr. Kimball, Mr. Ryan, Mr. Mullen, and Mr. O’Loughlin)

376. Mr. Chiocca incorporates by reference the averments in paragraphs 1-375 above

   as if fully set forth herein.

377. Pursuant to his Contract and M.G.L. c. 41, § 108N, Mr. Chiocca had a reasonable

   expectation of continued employment consistent with and subject to the provisions

   of the Rockland Town Charter.

378. By their conduct as set forth above, Mrs. Hall, Mr. Kimball, Mr. Ryan, Mr.

   Mullen, and Mr. O’Loughlin constructively discharged Mr. Chiocca’s employment,

   and therefore terminated his employment without affording him sufficient

   procedural due process.

379. Mr. Chiocca has suffered damages as a result of Mrs. Hall’s, Mr. Kimball’s, Mr.

   Ryan’s, Mr. Mullen’s and Mr. O’Loughlin’s conduct.

                                     COUNT 16
 (42 U.S.C. § 1983 – Deprivation of Procedural Due Process (Property Interest – Post-
  Investigation Termination via Constructive Discharge without Notice and Hearing)
                          (Against the Town of Rockland)

380. Mr. Chiocca incorporates by reference the averments in paragraphs 1-379 above

   as if fully set forth herein.




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381. Pursuant to his Contract and M.G.L. c. 41, § 108N, Mr. Chiocca had a reasonable

   expectation of continued employment consistent with and subject to the provisions

   of the Rockland Town Charter.

382. The Town constructively discharged and therefore terminated Mr. Chiocca’s

   employment without affording him sufficient procedural due process.

383. The individual Defendants who failed to afford Mr. Chiocca with sufficient

   procedural due process were Town’s municipal policy and decision makers at all

   times relevant hereto, and so the Town is liable for their conduct.

384. Mr. Chiocca has suffered damages as a result of the Town’s conduct.

                                     COUNT 17
 (42 U.S.C. § 1983 – Deprivation of Procedural Due Process (Property Interest – Final
                      Suspension without Notice and Hearing)
    (Against Mr. Ryan, Mr. Mullen, Mr. O’Loughlin, Mr. Penney and Ms. Nyman)

385. Mr. Chiocca incorporates by reference the averments in paragraphs 1-384 above

   as if fully set forth herein.

386. Pursuant to his Contract and M.G.L. c. 41, § 108N, Mr. Chiocca had a reasonable

   expectation of continued employment consistent with and subject to the provisions

   of the Rockland Town Charter.

387. Mr. Ryan, Mr. Mullen, Mr. O’Loughlin, Mr. Penney and Ms. Nyman voted to

   suspend Mr. Chiocca without affording him sufficient procedural due process.

388. Mr. Chiocca has suffered damages as a result of Mr. Ryan’s, Mr. Mullen’s, Mr.

   O’Loughlin’s, Mr. Penney’s and Ms. Nyman’s conduct.




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                                     COUNT 18
 (42 U.S.C. § 1983 – Deprivation of Procedural Due Process (Property Interest – Final
                 Suspension Discharge without Notice and Hearing)
                          (Against the Town of Rockland)

389. Mr. Chiocca incorporates by reference the averments in paragraphs 1-388 above

   as if fully set forth herein.

390. Pursuant to his Contract and M.G.L. c. 41, § 108N, Mr. Chiocca had a reasonable

   expectation of continued employment consistent with and subject to the provisions

   of the Rockland Town Charter.

391. The Town suspended Mr. Chiocca without affording him sufficient procedural

   due process.

392. The individual Defendants who failed to afford Mr. Chiocca with sufficient

   procedural due process were Town’s municipal policy and decision makers at all

   times relevant hereto, and so the Town is liable for their conduct.

393. Mr. Chiocca has suffered damages as a result of the Town’s conduct.

                                    COUNT 19
    (42 U.S.C. § 1983 – Deprivation of Procedural Due Process (Liberty Interest -
                                    Reputation)
                        (Against all individual Defendants)

394. Mr. Chiocca incorporates by reference the averments in paragraphs 1-393 above

   as if fully set forth herein.

395. Mr. Chiocca possessed a liberty interest in his reputation.

396. Based on the conduct set forth above, the individual Defendants deprived Mr.

   Chiocca of his liberty interest in his reputation by stigmatizing him through

   conscience-shocking behavior by fabricating claims of sexual assault against Mr.

   Chiocca, knowingly and purposefully rejecting Attorney Ryan’s recommendations




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    by manufacturing disciplinary issues against Mr. Chiocca they themselves had

    engaged in, and by repeatedly defaming Mr. Chiocca both orally and in writing

    instead of acknowledging that he was a victim of sexual harassment.

397. The individual Defendants’ deprived Mr. Chiocca of his liberty interest in his

    reputation without affording him sufficient procedural due process.

398. The individual Defendants’ conduct seriously damaged Mr. Chiocca’s standing

    and associations in his community and irreparably damaged his good name,

    reputation, honor, and integrity.

399. Mr. Chiocca has suffered damages as a result of the individual Defendants’

    conduct.

                                     COUNT 20
(42 U.S.C. § 1983 –Violation of Substantive Due Process (Liberty Interest – Reputation)
                           (Against the Town of Rockland)

400. Mr. Chiocca incorporates by reference the averments in paragraphs 1-399 above

    as if fully set forth herein.

401. Mr. Chiocca possessed a liberty interest in his reputation.

402. Based on the conduct set forth above, the Town deprived Mr. Chiocca of his

    liberty interest in his reputation by stigmatizing him through conscience-shocking

    behavior by fabricating claims of sexual assault against Mr. Chiocca, knowingly and

    purposefully rejecting Attorney Ryan’s recommendations by manufacturing

    disciplinary issues against Mr. Chiocca they themselves had engaged in, and by

    repeatedly defaming Mr. Chiocca both orally and in writing instead of

    acknowledging that he was a victim of sexual harassment.




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403. The Town deprived Mr. Chiocca of his liberty interest in his reputation without

   affording him sufficient procedural due process.

404. These individuals who deprived Mr. Chiocca of his liberty interest in his

   reputation without affording him sufficient procedural due process were the Town’s

   municipal policy and decision makers at all times relevant hereto and so the Town is

   liable for their conduct.

405. The Town’s conduct seriously damaged Mr. Chiocca’s standing and associations

   in his community and irreparably damaged his good name, reputation, honor, and

   integrity.

406. Mr. Chiocca has suffered damages as a result of the Town’s conduct.

                                      COUNT 21
                   (42 U.S.C. § 1985 – Conspiracy to Violate Civil Rights)
                            (Against Mrs. Hall and Mr. Kimball)

407. Mr. Chiocca incorporates by reference the averments in paragraphs 1-406 above

   as if fully set forth herein.

408. Based on the conduct set forth above, Mrs. Hall and Mr. Kimball conspired to

   deprive Mr. Chiocca of equal protection of the law intentionally.

409. Based on the conduct set forth above, Mrs. Hall and Mr. Kimball engaged in

   conduct in furtherance of their conspiracy.

410. Mr. Chiocca has suffered damages as a result of Mrs. Hall’s and Mr. Kimball’s

   conduct.




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                                   COUNT 22
                (42 U.S.C. § 1985 – Conspiracy to Violate Civil Rights)
      (Against Mr. Ryan, Mr. Mullen, Mr. O’Loughlin, Mr. Penney and Ms. Nyman)

411. Mr. Chiocca incorporates by reference the averments in paragraphs 1-410 above

   as if fully set forth herein.

412. Based on the conduct set forth above, Mr. Ryan, Mr. Mullen, Mr. O’Loughlin,

   Mr. Penney and Ms. Nyman conspired to deprive Mr. Chiocca of equal protection of

   the law intentionally.

413. Based on the conduct set forth above, Mr. Ryan, Mr. Mullen, Mr. O’Loughlin,

   Mr. Penney and Ms. Nyman engaged in conduct in furtherance of their conspiracy.

414. Mr. Chiocca has suffered damages as a result of Mr. Ryan’s, Mr. Mullen’s, Mr.

   O’Loughlin’s, Mr. Penney’s and Ms. Nyman’s conduct.

                                       COUNT 23
                 (42 U.S.C. § 1986 – Failure to Prevent 1985 Conspiracy)
                           (Against all Individual Defendants)

415. Mr. Chiocca incorporates by reference the averments in paragraphs 1-414 above

   as if fully set forth herein.

416. Based on the conduct set forth above, Mrs. Hall and Mr. Kimball had knowledge

   of their conspiracy to intentionally deprive Mr. Chiocca of equal protection of the

   law.

417. Mrs. Hall and Mr. Kimball neglected and/or refused to prevent the foregoing 1985

   conspiracy.

418. Based on the conduct set forth above, Mr. Ryan, Mr. Mullen, Mr. O’Loughlin,

   Mr. Penney and Ms. Nyman had knowledge of their conspiracy to intentionally

   deprive Mr. Chiocca of equal protection of the law.




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419. Mr. Ryan, Mr. Mullen, Mr. O’Loughlin, Mr. Penney and Ms. Nyman neglected

   and/or refused to prevent the foregoing 1985 conspiracy.

420. Mr. Chiocca has suffered damages as a result of the individual Defendants’

   conduct.

                                    COUNT 24
      (Breach of Contract – Suspension in Violation of Contract/Town Charter)
                          (Against the Town of Rockland)

421. Mr. Chiocca incorporates by reference the averments in paragraphs 1-420 above

   as if fully set forth herein.

422. As set forth above, Mr. Chiocca’s Contract guaranteed him certain procedural

   rights through the Town’s Charter in the event the Town sought to suspend him.

423. The Town suspended Mr. Chiocca in violation of the Town Charter and as a

   result, breached Mr. Chiocca’s Contract.

424. Mr. Chiocca has suffered damages as a result of the Town’s conduct.

                                    COUNT 25
      (Breach of Contract – Constructive Discharge/Termination in Violation of
                              Contract/Town Charter)
                          (Against the Town of Rockland)

425. Mr. Chiocca incorporates by reference the averments in paragraphs 1- 424 above

   as if fully set forth herein.

426. As set forth above, Mr. Chiocca’s Contract guaranteed him certain procedural

   rights through the Town’s Charter in the event the Town sought to terminate his

   employment.

427. The Town constructively discharged Mr. Chiocca and therefore terminated his

   employment in violation of the Town Charter and as a result, breached Mr.

   Chiocca’s Contract.



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428. Mr. Chiocca has suffered damages as a result of the Town’s conduct.

                                     COUNT 26
           (Breach of the Implied Covenant of Good Faith and Fair Dealing)
                           (Against the Town of Rockland)

429. Mr. Chiocca incorporates by reference the averments in paragraphs 1- 428 above

   as if fully set forth herein.

430. As set forth above, Mr. Chiocca’s Contract guaranteed him certain procedural

   rights through the Town’s Charter in the event the Town sought to suspend Mr.

   Chiocca or terminate his employment.

431. The Town did not act in good faith when it deprived Mr. Chiocca of his rights

   under his Contract, thereby depriving Mr. Chiocca of the benefits of his Contract.

432. Mr. Chiocca has suffered damages as a result of the Town’s conduct.

                                      COUNT 27
                                         (Libel)
                                   (Against Mrs. Hall)

433. Mr. Chiocca incorporates by reference the averments in paragraphs 1-432 above

   as if fully set forth herein.

434. Based on the facts set forth above, Mrs. Hall libeled Mr. Chiocca.

435. Mr. Chiocca has suffered damages as a result of Mrs. Hall’s conduct.

                                      COUNT 28
                                       (Slander)
                                   (Against Mrs. Hall)

436. Mr. Chiocca incorporates by reference the averments in paragraphs 1-435 above

   as if fully set forth herein.

437. Based on the facts set forth above, Mrs. Hall slandered Mr. Chiocca.

438. Mr. Chiocca has suffered damages as a result of Mrs. Hall’s conduct.




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                                         COUNT 29
                                            (Libel)
                                   (Against Mr. O’Loughlin)

439. Mr. Chiocca incorporates by reference the averments in paragraphs 1-438 above

   as if fully set forth herein.

440. Based on the facts set forth above, Mr. O’Loughlin libeled Mr. Chiocca.

441. Mr. Chiocca has suffered damages as a result of Mr. O’Loughlin’s conduct.

                                         COUNT 30
                                            (Libel)
                                      (Against Mr. Ryan)

442. Mr. Chiocca incorporates by reference the averments in paragraph 1-441 above as

   it set forth fully herein.

443. Based on the facts set forth above, Mr. Ryan libeled Mr. Chiocca.

444. Mr. Chiocca has suffered damages as a result of Mr. Ryan’s conduct.

                                         COUNT 31
                                           (Battery)
                                      (Against Mrs. Hall)

445. Mr. Chiocca incorporates by reference the averments in paragraphs 1-444 above

   as if fully set forth herein.

446. Based on the facts set forth above, Mrs. Hall acted with the intent to cause

   offensive contact with Mr. Chiocca and offensive contacted resulted.

447. Mr. Chiocca has suffered damages as a result of Mrs. Hall’s conduct.

                                        COUNT 32
                                   (Malicious Prosecution)
                                     (Against Mrs. Hall)

448. Mr. Chiocca incorporates by reference the averments in paragraphs 1-447 above

   as if fully set forth herein.




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449. Based on the facts set forth above, the suit that Mrs. Hall filed on June 13, 2018

   (that included Mr. Chiocca has a defendant) was done without probable cause and

   with malice, and the action terminated in Mr. Chiocca’s favor.

450. Mr. Chiocca has suffered damages as a result of Mrs. Hall’s conduct.

                                        COUNT 33
                      (Intentional Infliction of Emotional Distress)
                                   (Against Mrs. Hall)

451. Mr. Chiocca incorporates by reference the averments in paragraphs 1-450 above

   as if fully set forth herein.

452. Based on the conduct set forth above (i.e., Mrs. Hall sexually assaulting Mr.

   Chiocca and then knowingly fabricating allegations of sexual assault/harassment by

   Mr. Chiocca), Mrs. Hall intended to inflict emotional distress or knew or should

   have known that emotional distress was likely to result of her conduct, her conduct

   was extreme and outrageous and beyond all bounds of decency and was utterly

   intolerable in a civilized community, and Mrs. Hall’s actions caused Mr. Chiocca to

   sustain severe emotional distress.

453. Mr. Chiocca has suffered damages as a result of Mrs. Hall’s conduct.

                                        COUNT 34
                      (Intentional Infliction of Emotional Distress)
                                 (Against Mr. Kimball)

454. Mr. Chiocca incorporates by reference the averments in paragraphs 1-453 above

   as if fully set forth herein.

455. Based on the conduct set forth above (i.e., Mr. Kimball conspiring with Mrs. Hall

   to fabricate allegations of sexual assault/harassment against Mr. Chiocca), Mr.

   Kimball intended to inflict emotional distress or knew or should have known that




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   emotional distress was likely to result of his conduct, his conduct was extreme and

   outrageous and beyond all bounds of decency and was utterly intolerable in a

   civilized community, and Mr. Kimball’s actions caused Mr. Chiocca to sustain

   severe emotional distress.

456. Mr. Chiocca has suffered damages as a result of Mr. Kimball’s conduct.

                                      COUNT 35
                    (Intentional Infliction of Emotional Distress)
    (Against Mr. Ryan, Mr. Mullen, Mr. O’Loughlin, Mr. Penney and Ms. Nyman)

457. Mr. Chiocca incorporates by reference the averments in paragraphs 1-456 above

   as if fully set forth herein.

458. Based on the conduct set forth above (i.e., Mr. Ryan, Mr. Mullen, Mr.

   O’Loughlin, Mr. Penney and Ms. Nyman intentionally retaliating and defaming a

   victim of sexual assault/harassment), Mr. Ryan, Mr. Mullen, Mr. O’Loughlin, Mr.

   Penney and Ms. Nyman intended to inflict emotional distress or knew or should have

   known that emotional distress was likely to result from their conduct, their conduct

   was extreme and outrageous and beyond all bounds of decency and was utterly

   intolerable in a civilized community, and their actions caused Mr. Chiocca to sustain

   severe emotional distress.

459. Mr. Chiocca has suffered damages as a result of Mr. Ryan’s, Mr. Mullen’s, Mr.

   O’Loughlin’s, Mr. Penney’s and Ms. Nyman’s conduct.

                                       COUNT 36
                  (Intentional Interference with Contractual Relations)
                           (Against all Individual Defendants)

460. Mr. Chiocca incorporates by reference the averments in paragraphs 1-459 above

   as if fully set forth herein.




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461. Based on the facts set forth above, Mr. Chiocca had a Contract with the Town and

    the individual Defendants knowingly and with malice induced the Town to break the

    Contract.

462. Mr. Chiocca has suffered damages as a result of the individual Defendants’

    conduct.

                                          COUNT 37
                   (Intentional Interference with Advantageous Relations)
                             (Against all Individual Defendants)

463. Mr. Chiocca incorporates by reference the averments in paragraphs 1- 462 above

    as if fully set forth herein.

464. Based on the facts set forth above, Mr. Chiocca had a prospective contractual

    relationship with the Town and the individual Defendants knowingly and with

    malice induced the Town to not enter into the prospective contractual relationship

    with Mr. Chiocca

465. Mr. Chiocca has suffered damages as a result of the individual Defendants’

    conduct.


     WHEREFORE, Mr. Chiocca prays for judgment against the Defendants as
follows:
     A. A judgment against the Defendants and in favor of Mr. Chiocca on each of the
           causes of action set forth above;
     B. A judgment and order awarding Mr. Chiocca compensatory damages,
           including but not limited to back pay and benefits, front pay and benefits, lost
           raises, lost vacation time, lost retirement benefits, emotional distress damages,
           pain and suffering, reputational damages, as well as punitive damages;




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     C. A judgment and order awarding Mr. Chiocca his reasonable attorneys’ fees
         and the costs of this action;
     D. A judgment and order awarding Mr. Chiocca all legally permissible interest;
         and
     E. Such other relief as this Court may deem just and proper.
                                    JURY DEMAND
       Mr. Chiocca demands a trial by jury on all causes of action so triable.




Respectfully submitted
Allan Chiocca

By his attorneys,

/s/ Adam J. Shafran_________________
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